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1                        UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
2                                WACO DIVISION

3     DENSYS, LTD                     ) Docket No. WA 19-CA-680 ADA
                                      )
4     vs.                             ) Waco, Texas
                                      )
5     3SHAPE TRIOS A/S,               )
      3SHAPE A/S                      ) August 31, 2020
6

7               TRANSCRIPT OF VIDEOCONFERENCE MARKMAN HEARING
                    BEFORE THE HONORABLE ALAN D. ALBRIGHT
8

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25    Proceedings reported by computerized stenography,
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09:11:15   1                 THE COURT:     Good morning, everyone.         I'm sorry

09:11:16   2     I'm late.

09:11:17   3                 Suzanne, would you be so kind as to call the

09:11:19   4     case, please.

09:11:20   5                 THE CLERK:     Sure.

09:11:22   6                 Markman hearing in Civil Action 6:19-CV-680,

09:11:25   7     styled, Densys, Limited vs. 3Shape Trios A/S and 3Shape

09:11:31   8     A/S.

09:11:32   9                 THE COURT:     And if I could -- good morning.

09:11:34   10                If I could hear from counsel of record, please.

09:11:37   11    And I'm going to -- while you're announcing on the record,

09:11:39   12    I'm going to run back to my desk and grab a pen.                I'm not

09:11:42   13    leaving you.      So if I could hear from plaintiff's counsel

09:11:45   14    first.

09:11:48   15                MR. BURGER:     Good morning, your Honor.

09:11:49   16                My name is Oded Burger.         I'm from the New York

09:11:52   17    City office of Goldberg Segalla, and I represent the

09:11:54   18    plaintiff.     Today with me is Ron Daignault, and he's also

09:12:00   19    from the New York City office of Goldberg Segalla.

09:12:01   20                THE COURT:     Okay.    Very good.

09:12:02   21                And will you be the primary speaker, both of you?

09:12:05   22                MR. BURGER:     Yes, your Honor.        I think Ron may

09:12:09   23    chime in, but I'll be doing the primary argument.

09:12:13   24                THE COURT:     Very good.

09:12:14   25                And if I could hear from counsel for the


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09:12:16   1     defendant.

09:12:19   2                MR. CICCARELLI:       Good morning, your Honor.

09:12:19   3                This is Max Ciccarelli for 3Shape.             As is

09:12:24   4     customary for me, I'll let other people that are more

09:12:26   5     intelligent than me do the speaking.             And today, it's

09:12:28   6     going to be lead counsel Bill Belanger, Frank Liu and

09:12:33   7     Goutam Patnaik.       And we also have a client representative

09:12:36   8     on the Zoom call, and I'll let Mr. Patnaik introduce him.

09:12:46   9                THE COURT:      Mr. Patnaik, you're on mute.

09:12:48   10               MR. PATNAIK:       Sorry.    I got it.     Sorry about

09:12:50   11    that.

09:12:50   12               I just wanted to introduce our two client

09:12:52   13    representatives.       It's from our litigation department

09:12:55   14    within 3Shape.      We have Thomas Kirkbak and we have Mads

09:13:00   15    Demenikov.     They were both extremely interested in the

09:13:01   16    Markman process in U.S. litigation, and being in Denmark,

09:13:05   17    the Zoom gives us a nice opportunity for them to

09:13:08   18    participate.

09:13:08   19               THE COURT:      Well, I hope we don't disappoint

09:13:13   20    them.     I hope I get a decent Zoom review or, you know,

09:13:16   21    Yelp review.      It will be my first international Yelp

09:13:19   22    review.     This will be a good thing.          So let me thank them

09:13:23   23    for attending.

09:13:24   24               I always try and make it a point to thank inhouse

09:13:29   25    attorneys and anyone who's from inhouse for taking the


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09:13:32   1     time to attend.       I think it's important folks see the

09:13:37   2     judicial process and see their lawyers and see -- frankly,

09:13:40   3     see how I handle my docket, as well.             So I think it's a

09:13:44   4     very good thing that they're on the call.               I appreciate it

09:13:46   5     very much.

09:13:47   6                So let's turn to typically the way I do my

09:13:52   7     Markmans, if you all have not had one in front of me yet,

09:13:55   8     especially since I've been giving preliminary

09:13:58   9     constructions is, I start with the plaintiff.                   I ask the

09:14:01   10    plaintiff on each proposed claim term their position with

09:14:05   11    respect to the Court's proposed or preliminary claim

09:14:10   12    construction.      If the plaintiff says that they are -- they

09:14:16   13    find the proposal acceptable, then I move immediately to

09:14:20   14    the defendants to hear from them.            If the plaintiff says

09:14:23   15    that they would like to have -- help me fix or amend my

09:14:30   16    proposal, then I let them go first, and I typically allow

09:14:34   17    defendants then to go second.

09:14:36   18               So starting with the claim construction from the

09:14:40   19    707 patent of, quote, an intra-oral fixed global

09:14:47   20    registration position inside the oral cavity, I would ask

09:14:50   21    plaintiff's counsel what your position is with respect to

09:14:54   22    the Court's preliminary construction, which is, quote, a

09:14:59   23    fixed position inside the oral cavity that is used as a

09:15:03   24    reference point for relating multiple sets of

09:15:07   25    three-dimensional data to a fixed global reference


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09:15:10   1     coordinate system.

09:15:13   2                If the plaintiff -- I'll ask the plaintiff first.

09:15:16   3                MR. BURGER:      Your Honor, for the plaintiff, we

09:15:19   4     agree with the Court's construction.

09:15:21   5                THE COURT:      Okay.    Then I'll hear from the

09:15:23   6     defendants, please.

09:15:26   7                MR. BELANGER:       Thank you, your Honor.

09:15:29   8                And, your Honor, I think the issues regarding

09:15:33   9     this -- the construction of this term are simpler in terms

09:15:37   10    of the issues regarding the first maybe four terms for

09:15:43   11    construction.

09:15:44   12               And so, with your Honor's indulgence, I'd like to

09:15:48   13    give some background as to why we think the definition of

09:15:54   14    intra-oral fixed global registration position should

09:15:58   15    include a sequence for timing as to when that position is

09:16:01   16    fixed because we think that is the whole -- what the

09:16:05   17    patentee described as a point of novelty and what

09:16:09   18    plaintiffs themselves in their tutorial described as a

09:16:13   19    point of novelty.

09:16:13   20               So if that would be acceptable for me to start

09:16:15   21    with that background.

09:16:15   22               THE COURT:      You can do whatever you'd like.

09:16:17   23               MR. BELANGER:       Thank you, your Honor.

09:16:19   24               So I'd like to first start with slide 5, Jim.

09:16:28   25               MR. BURGER:      Your Honor, I apologize for


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09:16:29   1     interjecting.      I'm going to have an objection to some of

09:16:32   2     the slides.      And so, maybe before we proceed with the

09:16:37   3     slides, there are a number of slides that have taken

09:16:44   4     screen shots from the plaintiff's technology tutorial, and

09:16:48   5     my understanding is that that's not supposed to be a part

09:16:52   6     of the record, according to the Court's rules.

09:16:55   7                 And so, we would object to slides 12 through 15

09:17:01   8     and 36 and 37 for that reason.           So I apologize --

09:17:06   9                 THE COURT:     Well.

09:17:08   10                MR. BURGER:     -- for not mentioning that when it

09:17:09   11    was my turn to speak.

09:17:10   12                THE COURT:     That's okay.      Let me see how the

09:17:13   13    defendant uses them, and then, I'll figure out whether I

09:17:15   14    want to allow them to be made part of the record.                  I

09:17:17   15    understand your objection and let me just see what is used

09:17:23   16    -- what they're used for, okay?            And I may wind up

09:17:26   17    granting your objection.           I appreciate you giving me a

09:17:29   18    heads up.     But I'll hear from counsel and I'll need to see

09:17:32   19    the slides so I can make that decision.

09:17:36   20                MR. BELANGER:      Thank you, your Honor.

09:17:36   21                And just -- well, I'll proceed with the argument

09:17:42   22    and can discuss that when I get to the slides.                  Actually,

09:17:46   23    if you'll turn to slide 6, Jim.

09:17:49   24                Your Honor, in terms of what this patent is

09:17:52   25    directed to, to orient the Court, this is a statement from


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09:17:58   1     the background of the patent, a description from the prior

09:18:01   2     art.     The concept of having a local coordinate space

09:18:06   3     within global coordinate space is simply a observation of

09:18:11   4     well-known mathematical concept.

09:18:13   5                 And so, when the patent claim describes both

09:18:19   6     local coordinate space and a global coordinate space, by

09:18:22   7     definition the local coordinates are within the global

09:18:26   8     coordinate space, and that is simply an observation of the

09:18:30   9     mathematical relationship between physical objects.

09:18:34   10                We go to the next slide.         So this is figure 1 of

09:18:41   11    the patent.      And just to ground the Court in these

09:18:46   12    different terms and why we think they need to be related

09:18:50   13    in a particular way, the patent in the claims describe a

09:18:53   14    global coordinate space, which is simply the space which

09:18:57   15    -- within which a patient might be found.               The claims then

09:19:02   16    in the specification describe this fixed global reference

09:19:06   17    coordinate system, which is not simply points in space,

09:19:13   18    but it is a coordinate system that is fixed from which

09:19:17   19    relevant measurements can be made.            And there's also a

09:19:20   20    discussion of global reference coordinate systems, which

09:19:24   21    are essentially subsets of this fixed global reference

09:19:30   22    coordinate systems.

09:19:30   23                Go to the next slide, Jim.          Actually, go to slide

09:19:37   24    8.     Or slide 9, excuse me.       So in the patent, the

09:19:42   25    left-hand column, your Honor, this is an excerpt from the


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09:19:45   1     background of the patent.          There's several prior art

09:19:49   2     techniques that are described in the background of the

09:19:51   3     patent.     This is one of them.        And there are generally two

09:19:54   4     types of prior art that the patentee distinguished over in

09:19:56   5     the background.

09:19:57   6                 One type, you would have a reference point which

09:20:01   7     is outside the oral cavity, and it's not really relevant

09:20:05   8     to the dispute.       But the second type of prior art which is

09:20:09   9     discussed, and I believe is relevant to the construction

09:20:11   10    of this term, is a series of prior art references that

09:20:15   11    disclose the use of reference points within a local

09:20:20   12    coordinate space or within the field of view.                   So this is

09:20:22   13    one piece of prior art that the patentee distinguished

09:20:25   14    over, and this shows camera 5 and it shows the reference

09:20:28   15    points 6, and they are within the field of view of the

09:20:34   16    camera 5.

09:20:35   17                And so, what the patentee acknowledges was known

09:20:38   18    in the art is the use of these reference points to

09:20:41   19    register and merge together multiple images or multiple

09:20:48   20    three-dimensional images that are taken from different

09:20:50   21    fields of view of the oral cavity.            So this is

09:20:53   22    acknowledged as known in the prior art.

09:20:56   23                If you go to the prior slide, slide 8.                What the

09:21:01   24    patentee goes on to describe and is a purported problem

09:21:04   25    with this approach where if the measuring and imaging data


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09:21:09   1     is captured first and then, merely stitched together by an

09:21:13   2     analysis of the individual images, there's measurement

09:21:18   3     error and propagation error introduced.              And so, this is

09:21:22   4     identified as one of the problems with those types of

09:21:24   5     prior art systems which do not have or do not start with

09:21:29   6     the fixed global reference point; rather, they use

09:21:32   7     reference points that are fixed in a local coordinate

09:21:36   8     space within the field of view.

09:21:37   9                 And so, analyzing individual three-dimensional

09:21:40   10    images, according to the patentee in the background, and

09:21:43   11    simply stitching together or matching up those individual

09:21:48   12    three-dimensional images leads to various problems that

09:21:52   13    are identified.       And so, if we go to slide 10, Jim.           So in

09:22:01   14    order to allegedly overcome this problem, what the

09:22:03   15    patentee describes in the preferred embodiment is the use

09:22:08   16    of a fixed global reference point.

09:22:12   17                In this example, that's item 28.            And again, in

09:22:16   18    an example that's shown as the origin of the fixed global

09:22:22   19    coordinate system, that's Z sub G, O sub G, Y sub G.                So

09:22:26   20    that sub G is global, and item 28 is a fixed point.                And

09:22:30   21    the preferred embodiment, again, there's a device that's

09:22:34   22    attached to the patient's mouth that's fixed.                And then,

09:22:38   23    as far as distinguishing over the prior art, this allows

09:22:41   24    the measuring and imaging device to take all the

09:22:47   25    subsequent images and measurements with respect to that


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09:22:50   1     fixed point.

09:22:51   2                 So rather than having to later stitch together or

09:22:55   3     piece together various images that are taken from

09:22:58   4     different fields of view, without reference to the global

09:23:02   5     coordinate system, what the patentee describes is starting

09:23:05   6     with a fixed global coordinate system with a fixed initial

09:23:10   7     reference point, and then, taking all the subsequent

09:23:14   8     images and measurements with respect to that fixed point

09:23:18   9     within a global coordinate space.

09:23:22   10                If we go to the next slide.           So this is, again,

09:23:28   11    what the patentee describes as their invention.                  So

09:23:33   12    contrary to some cases, your Honor, where this is simply a

09:23:39   13    description of a preferred embodiment, then this is what

09:23:42   14    the patentee describes as the novel aspects of their

09:23:45   15    invention.      The key to their invention is that by fixing

09:23:51   16    that global reference coordinate and having a fixed global

09:23:55   17    coordinate space, that enables the real time and

09:23:58   18    discontinuous acquisition of measurements and images.

09:24:03   19                So by having that reference point 28, if an image

09:24:07   20    is taken within, in this example, a field of view which

09:24:10   21    does not include that fixed reference point, the system is

09:24:15   22    able to determine the physical location of that

09:24:21   23    measurement within this global coordinate space; and

09:24:24   24    that's in contrast, according to the applicant to the

09:24:28   25    prior art where the reference point would need to begin


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09:24:30   1     that local field of view and could not be outside of the

09:24:34   2     field of view.       And this is -- again, allegedly eliminates

09:24:40   3     the propagation errors and any other problem of taking

09:24:44   4     disparate images and stitching them together to create a

09:24:47   5     three-dimensional object.

09:24:47   6                 If we can go to the next slide, Jim.             So this is

09:24:52   7     the slide --

09:24:54   8                 MR. BURGER:      This is the slide that I would

09:24:55   9     object to, your Honor.

09:24:56   10                MR. BELANGER:      I don't intend to introduce this

09:24:58   11    as evidence, your Honor.          This is merely illustrative of

09:25:01   12    what we think is the dispute.           And as your Honor saw from

09:25:04   13    the briefing, we believe that a sequence and an order is

09:25:08   14    required by the claims when read in view of the

09:25:11   15    specification and what the patentee described as its

09:25:14   16    invention.

09:25:16   17                But we think another issue which is raised by the

09:25:20   18    briefing is that the plaintiff, in certain instances,

09:25:25   19    agree that a sequence is required by the claims and in

09:25:32   20    other examples, disagree.          So what we want from the

09:25:33   21    Markman process is a clear understanding as to whether

09:25:36   22    there is a sequence required or there's no sequence

09:25:40   23    required.      If there's no sequence required, that would

09:25:42   24    open up a large field of prior art whereas if a sequence

09:25:45   25    is required, we believe that comports with the proposed


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09:25:50   1     constructions and is different than the Court's

09:25:53   2     preliminary constructions for the reasons I'll try to

09:25:56   3     explain.

09:25:56   4                 So this is an analogy that plaintiffs included in

09:26:00   5     their tech tutorial.         I think it's just helpful for

09:26:04   6     understanding what the crux of this is.              In this example,

09:26:08   7     taking a picture of the Austin courthouse by taking a

09:26:12   8     series of images, which are then, according to the

09:26:17   9     plaintiff, stitched together in a traditional manner by

09:26:21   10    analyzing each of the images and seeing how they fit

09:26:24   11    together.      Think of this as you're putting together a

09:26:27   12    jigsaw puzzle, and if you don't know ahead of time where

09:26:30   13    the pieces go, you need to do some analysis of the jigsaw

09:26:34   14    puzzle pieces in order to fit them together.

09:26:37   15                If you go to the next slide.           What the plaintiff

09:26:43   16    has said is the alleged novel aspect of the invention or

09:26:48   17    the central insight is to establish a fixed reference

09:26:53   18    point so that each time you take an image or you take a

09:26:57   19    measurement, you know where it goes in relation to other

09:27:00   20    points.

09:27:00   21                So in this example, they show you're taking one

09:27:03   22    picture of the Austin courthouse with respect to the top

09:27:07   23    of the roof.      They put a red dot there.          And by knowing

09:27:09   24    that where that red dot is before you take the pictures,

09:27:11   25    you can more easily piece them together.


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09:27:19   1                 If we could go to the next slide.            So this is,

09:27:21   2     again, from the tutorial images showing that what I think

09:27:28   3     is consistent with the background, what the patentee

09:27:29   4     describes as their invention, is establishing this

09:27:31   5     reference point so that the measurement for distance or

09:27:36   6     the location of the measurement could be determined with

09:27:39   7     respect to that reference point.

09:27:41   8                 Go to the next slide.         Without any sequence, your

09:27:45   9     Honor, using that same example, the claims would be on

09:27:48   10    this admitted prior art approach where you're taking a

09:27:51   11    series of images, stitching them together and then, at

09:27:56   12    some later point in time, randomly assigning a reference

09:27:59   13    point, which then can be measured with respect to

09:28:04   14    individual images.

09:28:05   15                So in this analogy, if I took a panoramic view of

09:28:10   16    the courthouse, I analyze each image, fit the puzzle

09:28:14   17    pieces together in a way that is described as the

09:28:16   18    background of the prior art, I could then, at a later

09:28:19   19    point in time, simply identify the top of the courthouse

09:28:23   20    as a fixed global reference point, and it will be trivial

09:28:27   21    to measure how far each of the individual images were from

09:28:30   22    that point.      We don't believe that that is what the

09:28:35   23    patentee described as their invention.              And so, we think

09:28:38   24    the claims should be limited such that the reference point

09:28:41   25    is identified first, and the images are captured second.


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09:28:45   1                 However, we would respectfully submit that the

09:28:48   2     Court's construction should clarify this point so that

09:28:52   3     when we're evaluating prior art, it's either the claims

09:28:55   4     should be read in sequence, as we propose, or if there is

09:28:58   5     no sequence, the acknowledged prior art in many other

09:29:03   6     references would be covered because you're simply able to,

09:29:06   7     at any point in time, identify a fixed reference point

09:29:09   8     with respect to individually captured three-dimensional

09:29:13   9     images.

09:29:15   10                If we go to the next slide, please.             So this --

09:29:21   11    actually, in the interest of time, I'll skip ahead.                If we

09:29:23   12    can go to slide 20.        This is, again, consistent with the

09:29:31   13    example given in the tutorial.            This is an example from

09:29:34   14    plaintiff's expert's deposition where he explains the

09:29:38   15    importance of this fixed reference point and having it

09:29:42   16    fixed before the beginning of the imaging and measuring

09:29:46   17    process.     He described this as an analogy to a drone with

09:29:50   18    a base station that once you fix the base station, it's

09:29:51   19    fixed for the entire measuring and imaging mission so that

09:29:55   20    you always know where the drone is with respect to the

09:29:59   21    base station.

09:29:59   22                If the claims are read without that sequence,

09:30:04   23    then that would open up a situation where you could simply

09:30:09   24    later piece together where the drone happened to be with

09:30:12   25    respect to the base station.           But the base station could


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09:30:14   1     be any random place, not a fixed place.

09:30:20   2                 We can go to the next slide.           And this is just to

09:30:23   3     highlight the point further, your Honor.               This is from

09:30:25   4     plaintiff's reply brief where lawyer -- preliminary

09:30:29   5     construction says no sequence is required by the claims.

09:30:32   6     The plaintiff themselves argue for a sequence where the

09:30:37   7     acquisition step does not have to happen before the fixing

09:30:41   8     of the global registration position.              However, they argue

09:30:45   9     that the later steps do require a consequence and require

09:30:50   10    that the global -- require the prior establishment of a

09:30:55   11    global reference position.

09:30:56   12                If I could go to slide 23.          So the way we've

09:31:07   13    attempted to capture this in our proposed construction

09:31:10   14    and, I think, really the only difference in phrasing

09:31:13   15    between your preliminary construction and our proposed

09:31:19   16    construction is that the intra-oral fixed global

09:31:24   17    registration position is fixed prior to the measuring and

09:31:26   18    imaging.     We believe that this is what the patentee

09:31:29   19    described as their invention, the patentee argued in the

09:31:32   20    background to distinguish over, acknowledged prior art.

09:31:36   21                And so, that's why we think it's appropriate to

09:31:39   22    say that this is -- to define in terms of claim

09:31:44   23    construction when this point must be fixed.                Must it be

09:31:48   24    fixed before the imaging and measuring operation, or can

09:31:50   25    it simply be fixed at any later random point?


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09:31:54   1                 If I could go to slide -- the next slide, Jim.

09:31:56   2     So where this comes into most stark contrast, your Honor,

09:32:09   3     is with respect to claim 37.           So with respect to claim 37,

09:32:14   4     you've got step (b), which uses the term "the measuring

09:32:20   5     and imaging device for measuring and imaging the

09:32:24   6     intra-oral objects, relative to same said intra-oral fixed

09:32:28   7     global registration position."            And then, you have the

09:32:30   8     second step (c) which talks about the registration device,

09:32:34   9     relative to said same intra-oral fixed global registration

09:32:38   10    position.

09:32:39   11                So as we understand it, plaintiff has a --

09:32:41   12                MR. BURGER:      Your Honor, I'll object that the

09:32:44   13    claim was not read properly.

09:32:50   14                MR. BELANGER:      I am trying to do my best.           If I

09:32:52   15    left out --

09:32:52   16                MR. BURGER:      I apologize.      You've left out some

09:32:54   17    words and I do believe that they're relevant.                So I

09:32:58   18    thought it's important for the record to raise that

09:33:00   19    objection.

09:33:01   20                THE COURT:     Okay.

09:33:03   21                MR. BELANGER:      The claim as on the screen or are

09:33:06   22    you saying that the screen is not accurate?

09:33:07   23                MR. BURGER:      No, no.    Just what you were reading

09:33:09   24    out loud omitted some words.           And so, I want to make sure

09:33:13   25    that the transcript is accurate.


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09:33:16   1                 MR. BELANGER:      So the -- let me just back up and

09:33:20   2     try to make that point clearly, your Honor.

09:33:23   3                 There are two steps in claim 37.            Both steps (b)

09:33:28   4     and (c) use the identical phrase "relative to same said

09:33:33   5     intra-oral fixed global registration position."                  Plaintiff

09:33:38   6     and their expert and in the briefing admit that in step

09:33:43   7     (c), relative to same said intra-oral fixed global

09:33:47   8     registration position requires that the intra-oral fixed

09:33:51   9     global registration position be fixed in advance of for

09:33:58   10    step (c), recording global positions and orientations of

09:34:03   11    said measuring and imaging device.

09:34:07   12                We believe for consistency, therefore, step (b)

09:34:09   13    should, likewise, be read that the measuring and imaging

09:34:13   14    device for measuring and imaging the intra-oral objects

09:34:17   15    and features located in the oral cavity relative to same

09:34:20   16    said intra-oral fixed global registration position

09:34:23   17    requires that the measuring and imaging happen after the

09:34:28   18    establishment of the intra-oral fixed global registration

09:34:33   19    position.      So this identical language is used in both.

09:34:36   20                Plaintiffs had argued that use of that language

09:34:38   21    requires a sequence, and the sequence that is required is

09:34:41   22    first establishing said intra-oral fixed global

09:34:45   23    registration position prior to doing the measurement step.

09:34:51   24    And so, we believe that same interpretation should apply

09:34:53   25    for both.      And therefore, for step (b), the intra-oral


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09:34:56   1     fixed global registration must be fixed before the

09:35:01   2     measuring and imaging of the features in the oral cavity.

09:35:09   3                 Go to the next slide, Jim.          And this is

09:35:16   4     consistent, your Honor, with claim 1, as well, the

09:35:21   5     phrasing in the claim, and is consistent with what the

09:35:23   6     patentee -- this is on the right-hand side of slide 25

09:35:26   7     where the patent describes their invention, which is the

09:35:32   8     identification of this fixed global registration point in

09:35:35   9     advance of the imaging and measuring steps.

09:35:41   10                So with that, I would defer to plaintiff's

09:35:45   11    counsel and unless your Honor has any questions or

09:35:50   12    anything that you would like me to clarify.

09:35:52   13                THE COURT:     Hold on one second.

09:39:01   14                Gentlemen, thank you for the -- whoops.

09:39:06   15    Gentlemen, thank you for the opportunity.               I discussed it

09:39:11   16    with my clerks, who helped me prepare the preliminary

09:39:18   17    claim constructions.         The Court is going to maintain its

09:39:21   18    construction of this claim term as "a fixed position

09:39:25   19    inside the oral cavity that is used as a reference point

09:39:28   20    for relating multiple sets of three-dimensional data to a

09:39:33   21    fixed global reference coordinate system."

09:39:36   22                I'll go ahead and put on the record that the

09:39:39   23    Court finds that there is no requirement in the claim for

09:39:44   24    a fixed position being defined inside the oral cavity

09:39:47   25    prior to measuring and imaging.            And in fact, the Court


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09:39:51   1     will go further, if it's helpful to you all on other claim

09:39:55   2     terms we're going to take up, to say that the Court is not

09:40:00   3     going to find that the claims require any sequencing, if

09:40:04   4     that helps with other arguments that are going to come

09:40:08   5     about.

09:40:09   6                 The next claim term I have to take up is from the

09:40:15   7     707 patent claim, quote, a fixed global reference

09:40:21   8     coordinate system.        The Court's construction is plain and

09:40:27   9     ordinary meaning wherein the plain and ordinary meaning is

09:40:30   10    a reference system used to define the locations of objects

09:40:37   11    in the inter-oral -- and that is "inter" because I noticed

09:40:42   12    that we have "inter" and "intra" occasionally.                   I want to

09:40:44   13    make sure that I state correctly on the record -- objects

09:40:47   14    in the inter-oral cavity and whose origin point is fixed

09:40:52   15    at a single location within the inter-oral cavity.

09:40:57   16                I'll hear first from the plaintiff.             I know the

09:41:00   17    plaintiff submitted a proposed construction of plain and

09:41:03   18    ordinary meaning, but I want to find out whether or not

09:41:05   19    the Court's explanation of what a plain and ordinary

09:41:11   20    meaning should be is acceptable with plaintiff's counsel.

09:41:15   21                MR. BURGER:      Your Honor, for the plaintiff, we

09:41:19   22    agree with the Court's construction.              And in fact, we

09:41:21   23    submitted slides that demonstrate the support in the

09:41:28   24    specification that supports the Court's preliminary

09:41:32   25    construction.


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09:41:32   1                 THE COURT:     Thank you very much.

09:41:34   2                 With regard to defendant, I'll hear from you with

09:41:36   3     respect to any suggestions you have with what the Court

09:41:40   4     could do to improve or amend what it has proposed, or

09:41:45   5     whether or not you just agree with it as it is.

09:41:48   6                 MR. BELANGER:      I think, your Honor, consistent

09:41:50   7     with your -- the comment you just made, the primary issue

09:41:55   8     we have with the Court's proposed construction is clarity

09:42:00   9     on when the origin needs to be fixed.              And our --

09:42:04   10    respectfully, our belief is, it should be fixed prior to

09:42:08   11    the measuring and imaging.           But if the Court's ruling is,

09:42:10   12    it could be fixed at any time, there's no requirement of

09:42:13   13    timing, we would understand that.             We just want clarity as

09:42:19   14    to that.

09:42:19   15                THE COURT:     You have that clarity and you also --

09:42:22   16    and by the way, let me make absolutely clear on the

09:42:25   17    record.     If you disagreed with my constructions, I

09:42:32   18    absolutely want you -- to make sure you keep that on the

09:42:34   19    record, I want -- I absolutely want to protect your

09:42:37   20    record.     I'm -- I can do anything I want: that doesn't

09:42:43   21    mean I'm always right when I'm doing it at this time.             So

09:42:46   22    I'm doing the best I can.          Doesn't mean I'm absolutely

09:42:49   23    right.

09:42:50   24                However, so if the way the Court is going to take

09:42:55   25    what you said is that you would -- and I'll add in there


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09:43:01   1     the word "respectfully disagree" with what I've said -- I

09:43:06   2     had a lawyer last week that gave me a grade of zero on one

09:43:08   3     of my claim constructions, so at least he didn't say that.

09:43:11   4                 But I'm going to note for the record that you

09:43:13   5     disagree with the Court's decision that the claim does not

09:43:18   6     require any sequence, and you have that concern and

09:43:22   7     objection to the Court's proposal for what my plain and

09:43:25   8     ordinary meaning is.

09:43:25   9                 Does the defendant have any other construction

09:43:28   10    they'd like -- I'm sorry, objection they'd like to raise?

09:43:32   11                MR. BELANGER:      No.    Not other than the sequencing

09:43:35   12    point that we've raised already, your Honor.

09:43:35   13                THE COURT:     Okay.     Well, then, with your consent,

09:43:37   14    I would probably move on to the next -- unless you have

09:43:40   15    something you want to add, I would move on to the next

09:43:42   16    claim term.

09:43:44   17                MR. BELANGER:      That's fine, your Honor.

09:43:45   18                THE COURT:     Okay.     The next claim term is -- and

09:43:50   19    again, to make clear on the record because I don't know if

09:43:52   20    I said this out loud.         Then the Court is going to adopt

09:43:56   21    and make permanent what I just read into the record as the

09:44:01   22    proposed construction for the claim term "a fixed global

09:44:06   23    reference coordinate system," noting the defendants'

09:44:10   24    objections with respect to their belief that it does

09:44:13   25    require sequence and the Court's determination it does


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09:44:17   1     not.

09:44:18   2                 The next claim term is from the 707 patent claim

09:44:23   3     1.     The claim term is "a measuring and imaging device for

09:44:29   4     measuring and imaging the intra" -- that's I-N-T-R-A --

09:44:35   5     "intra-oral objects and features."             The Court's

09:44:38   6     construction and determination is that it is not subject

09:44:42   7     to Section 112, paragraph 6, and that it should have its

09:44:47   8     plain and ordinary meaning.

09:44:47   9                 I'll hear first from the plaintiff.             I assume

09:44:51   10    because that was your proposal, as well, that you are okay

09:44:56   11    with the Court's.        But I'll hear from you on the record.

09:44:58   12                MR. BURGER:      That's correct, your Honor.         Thank

09:45:00   13    you.

09:45:00   14                THE COURT:     Okay.     Now I'll hear from defendant

09:45:04   15    who believe that it was subject to Section 112, paragraph

09:45:09   16    6, and/or is indefinite.           I'll hear from the defendant

09:45:14   17    with respect to the Court's determination and preliminary

09:45:16   18    construction.

09:45:17   19                MR. BELANGER:      Thank you, your Honor.

09:45:19   20                Mr. Liu is going to take that term.             But just one

09:45:23   21    clarification.

09:45:24   22                THE COURT:     Yes, sir.

09:45:24   23                MR. BELANGER:      Regarding the difference between

09:45:26   24    inter and intra-oral.         I know you noted that there's a

09:45:30   25    difference, but it wasn't clear to us that that was --


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09:45:36   1                 LAW CLERK:     That was my mistake.         It's probably

09:45:39   2     supposed to be intra-oral.

09:45:39   3                 THE COURT:     Okay.

09:45:39   4                 LAW CLERK:     Yeah.     So that's my mistake.

09:45:39   5                 THE COURT:     Yeah.     I may be -- I may have

09:45:44   6     mistaken on what I'm reading here.             If I'm misreading it,

09:45:47   7     let me know.      That's why I was trying to pick it up.

09:45:49   8     There may be a mistake in what I have typed here.                   Let's

09:46:02   9     make sure that I have down what the appropriate -- what

09:46:05   10    the correct language is.

09:46:11   11                MR. BELANGER:      So, your Honor, the claim language

09:46:14   12    itself is I-N-T-R-A, intra.           And I believe your

09:46:20   13    preliminary uses an E, instead of an A.              And so, I think

09:46:24   14    if we just replaced I-N-T-E-R with I-N-T-R-A, that would

09:46:30   15    comport with the claim language.

09:46:31   16                THE COURT:     Okay.     Very good.     Thank you for

09:46:33   17    bringing that to my attention.

09:46:34   18                MR. BELANGER:      Thank you, your Honor.            And Mr.

09:46:37   19    Liu will address the next term.

09:46:38   20                THE COURT:     Okay.     Thank you.     Thank you very

09:46:40   21    much.

09:46:41   22                MR. LIU:     Good morning, your Honor.

09:46:42   23                THE COURT:     Good morning.

09:46:45   24                MR. LIU:     Frank Liu on behalf of the 3Shape

09:46:48   25    Defendants.


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09:46:49   1                 I'll be addressing --

09:46:49   2                 THE COURT:     I don't think I've had you in my

09:46:51   3     court before.       Welcome.     I'm glad to have you.

09:46:54   4                 MR. LIU:     Thank you, your Honor.

09:46:55   5                 I'll be addressing the measuring and imaging

09:46:57   6     device limitation.

09:46:58   7                 THE COURT:     Okay.

09:46:59   8                 MR. LIU:     We believe the term "measuring and

09:47:02   9     imaging device" is one that's subject to 112, paragraph 6,

09:47:05   10    under prevailing Federal Circuit case law.               And under 112,

09:47:10   11    paragraph 6, construction, we believe the specification

09:47:12   12    fails to provide an adequate disclosure of the

09:47:16   13    corresponding structure for the measuring and imaging

09:47:20   14    device, which would render the claim term indefinite.

09:47:22   15                I plan to address the threshold question of

09:47:26   16    measuring and imaging -- of whether the measuring and

09:47:28   17    imaging device is subject to 112, paragraph 6, first

09:47:31   18    unless the Court would like me to address any other

09:47:34   19    particular issues with respect to this term.

09:47:46   20                Jim, can you pull up slide 46?           I think it's

09:47:57   21    helpful to review the standard governing the construction

09:48:01   22    under 112, paragraph 6.          The recent Federal Circuit case

09:48:06   23    law confirms that the test for determining whether a term

09:48:10   24    is subject to 112, paragraph 6, is whether the claim term

09:48:14   25    connotes sufficiently definite structure.               So if the claim


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09:48:17   1     term fails to connote sufficiently definite structure,

09:48:21   2     then you need to identify the corresponding structure in

09:48:24   3     the specification for performing that claim function.

09:48:28   4                 The Federal Circuit in the MTD Products vs. Iancu

09:48:34   5     case, which was --

09:48:34   6                 THE COURT:     Mr. Liu.

09:48:36   7                 MR. LIU:     Yes.

09:48:41   8                 THE COURT:     I found after two years now -- I'll

09:48:43   9     just go ahead and state on the record.              I'm sure two years

09:48:44   10    ago, my patience would have been much greater, but I'll

09:48:48   11    tell you that I'm pretty current on this law.                I deal with

09:48:55   12    this probably about four times a month at these Markmans.

09:48:59   13    So I don't mean to sound offensive but I'm -- my clerks

09:49:05   14    and I are really current on this, so you can probably

09:49:07   15    skip -- skip the case citations.

09:49:11   16                MR. LIU:     Okay.    Thank you, your Honor.

09:49:13   17                And I think just the most important point from

09:49:16   18    the MTD Products vs. Iancu case is that there's two

09:49:21   19    separate steps, and what it makes clear is that you can't

09:49:24   20    just go to the specification and point to some structure

09:49:27   21    and say 112, paragraph 6, applies.             And I think that's the

09:49:30   22    relevant dispute here.

09:49:32   23                We think that Densys in their briefing and

09:49:35   24    argument is going straight to the specification,

09:49:38   25    identifying some structure that purports to correspond to


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09:49:42   1     the measuring and imaging device and saying that's

09:49:47   2     sufficient to defeat 112, paragraph 6 -- to avoid a 112,

09:49:51   3     paragraph 6, construction.           So we think that's the issue

09:49:53   4     here, and we think that's inconsistent with the recent

09:49:56   5     Federal Circuit case law on this.

09:50:06   6                 Could we go to slide 48.          Looking at the claim

09:50:16   7     language, it's clear that the measuring and imaging device

09:50:19   8     is recited in a means-plus-function format.                While the

09:50:23   9     term doesn't use -- expressly use the term "means," it

09:50:28   10    takes the function that's recited, which is measuring and

09:50:32   11    imaging, and appends the nonce word "device" onto the end

09:50:36   12    of it.     So essentially what they're doing is, they're

09:50:39   13    trying to claim any structure that falls within that can

09:50:45   14    perform the functions of measuring and imaging, and that's

09:50:50   15    consistent with how means-plus-function claims are

09:50:54   16    written.     And there's nothing in the claim language to

09:50:57   17    suggest that there's some connotation of structure with

09:51:02   18    respect to the measuring and imaging device.

09:51:04   19                I think as the Court probably has seen the

09:51:10   20    Williamson vs. Citrix case, notes that terms like "device"

09:51:15   21    such as it's used here are typically insufficient to

09:51:20   22    connote structure.        And so, we submit, your Honor, that

09:51:22   23    the term "measuring and imaging device" is a term that is

09:51:29   24    -- that fails to connote sufficient structure.

09:51:36   25                We'll also note on the record that the term


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09:51:41   1     "measuring and imaging device" is not a term that has an

09:51:44   2     understood meaning in the art.            There's no dictionary

09:51:51   3     definition or treatise that uses the term "measuring and

09:51:54   4     imaging device."        So I think that highlights the fact that

09:51:57   5     measuring and imaging device is not a term that has an

09:52:00   6     understood meaning in the art, and that really, the

09:52:03   7     patentee is trying to just use the term "measuring and

09:52:07   8     imaging device" to refer to any structure that's being

09:52:10   9     used to perform the functions of measuring and imaging.

09:52:13   10    And again, that's consistent with how means-plus-function

09:52:16   11    claims are written.        And we submit, your Honor, that that

09:52:21   12    would subject the claim term to 112, paragraph 6.

09:52:28   13                And if we go to slide 49.          And the way that

09:52:34   14    measuring device and imaging device is claimed, it's

09:52:38   15    claimed consistently between the two independent claims.

09:52:40   16    So for in the previous slide, go to claim 37, they recited

09:52:47   17    that the measuring and imaging device was for measuring,

09:52:51   18    imaging the intra-oral objects and features located in the

09:52:54   19    intra-oral cavity, the same language appears in claim 1.

09:52:57   20                If we could go to slide 50.           And consistent with

09:53:09   21    this means-plus-function claiming format, the

09:53:13   22    specification really describes the measuring and imaging

09:53:18   23    devices in terms of a black box.            It illustrates

09:53:23   24    essentially a box in figure 1 of the specification.               And

09:53:27   25    the intent by the patentee was really to signify that any


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09:53:32   1     type of device or structure mechanism that could be used

09:53:38   2     for the measuring -- to perform the functions of measuring

09:53:42   3     and imaging device would be within the scope, and I think

09:53:44   4     that's largely confirmed by the specification.

09:53:47   5                 If we could go to the slide 51.            So looking at

09:53:57   6     the specification 707 patent at column 16, lines 22

09:54:02   7     through 44, it's apparent that the patentee had intended

09:54:12   8     to capture the measuring and imaging device in a

09:54:18   9     means-plus-function format when they recite the various

09:54:22   10    different types of mechanisms that could be used to

09:54:27   11    perform the functions of measuring and imaging.                  They

09:54:30   12    provide a long laundry list of mechanisms, and a lot of

09:54:34   13    these are from various disparate categories, and a lot of

09:54:39   14    them are very vague in nature.

09:54:42   15                So, for example, electronic -- electrical and

09:54:47   16    electronic mechanisms, those categories -- those

09:54:50   17    identified categories alone could virtually cover any type

09:54:54   18    of measuring and imaging device that performs the

09:54:58   19    functions of measuring and imaging.

09:55:11   20                And going to slide 52.         And not to belabor the

09:55:17   21    case law, but I think the MTD Products vs. Iancu case

09:55:22   22    further highlights the fact that if there's nothing in the

09:55:25   23    specification to kind of -- to cabin the scope of the

09:55:28   24    functional term, it lends itself to the conclusion that

09:55:32   25    the claim was intended to be written as a


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09:55:35   1     means-plus-function format.

09:55:36   2                 And we think the specification's consistent with

09:55:38   3     that analysis.       The specification provides a vague laundry

09:55:42   4     list of mechanisms that could be used, and it doesn't

09:55:45   5     really try to define any kind of particular scope or

09:55:50   6     suggest any kind of particular structure that would be

09:55:52   7     used for the means-plus -- for the measuring and imaging

09:55:55   8     device.

09:55:55   9                 And so, virtually any structure that could

09:55:58   10    perform the functions of measuring and imaging would

09:56:03   11    theoretically fall within the scope of the measuring and

09:56:05   12    imaging device.       And because of that, your Honor, we

09:56:13   13    believe that the term "measuring and imaging device" is

09:56:17   14    subject to 112, paragraph 6.

09:56:21   15                THE COURT:     If I could hear a response.

09:56:26   16                MR. BURGER:      Your Honor, were you addressing me?

09:56:32   17                THE COURT:     You're the only other lawyer on --

09:56:37   18                MR. BURGER:      Yes.    There's a number of things

09:56:40   19    that Mr. Liu said that I'd like to clarify.

09:56:48   20                So first, he said that the defendants jumped

09:56:52   21    straight to the specification and ignored the claim terms,

09:56:56   22    and that's entirely untrue.           In fact, I had a footnote

09:57:01   23    where I listed 38 structural elements of the measuring and

09:57:06   24    imaging device that are found in dependent claims.               And

09:57:11   25    the claims that counsel put on the screen just now were


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09:57:19   1     broad independent claims, but he didn't address the

09:57:22   2     dependent claims at all.          And in fact, you'll see that the

09:57:27   3     structural limitations do appear in the claims, and we

09:57:30   4     have extensive briefing about why that means that 112,

09:57:38   5     paragraph 6 doesn't apply.

09:57:39   6                 Let me -- if I may show you a few slides that

09:57:47   7     I've prepared.       Just give me one moment to get that up.

09:58:12   8     All right.      Before I get into some very specific

09:58:23   9     structural limitations that are found in the claims

09:58:25   10    themselves, I'd also like to correct something that -- a

09:58:31   11    different slide that counsel just showed, which was figure

09:58:35   12    1 of the 707 patent, and he highlighted a small purple box

09:58:43   13    to be the measuring and imaging device.

09:58:44   14                In fact, when we know from claim 53 that the

09:58:48   15    measuring and imaging device also includes a position and

09:58:55   16    orientation guide.        And the position orientation guide is

09:59:00   17    a rod that is attached to the, you know, for lack of a

09:59:08   18    better term, the camera and other types of devices that

09:59:13   19    are specifically discussed as acquiring measurements and

09:59:22   20    images.     And so, the specification tells us that this rod,

09:59:25   21    which is a part of the measuring and imaging device, can

09:59:29   22    be made out of plastic or glass and has limitations

09:59:36   23    relating to not irritating the intra-oral cavity.

09:59:39   24                So while this isn't the totality of the measuring

09:59:45   25    and imaging device, it is a part of the measuring and


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09:59:47   1     imaging device, and it is certainly something that can

09:59:51   2     connotes structure.        And this is illustrated here where, I

09:59:59   3     believe, the measuring and imaging device was highlighted

10:00:02   4     only as the box -- well, when counsel put the slide up, he

10:00:07   5     only highlighted box 54, but in fact, the measuring and

10:00:12   6     imaging device also includes a structural handle.

10:00:15   7                 And so -- and beyond the portions of the

10:00:25   8     specification that counsel alluded to, there are other

10:00:32   9     portions of the specification that discuss the structure,

10:00:35   10    the measuring and imaging device.             Indeed, we know that

10:00:38   11    the measuring and imaging device can be, quote, an

10:00:43   12    ultrasound measuring and imaging probe.              And this is a

10:00:48   13    quote from the deposition transcript of defendants'

10:00:53   14    expert, Dr. Parris Egbert, where he agreed that an

10:00:58   15    ultrasound measuring and imaging probe has structure.

10:01:07   16                And so, let me think if there's any other points

10:01:15   17    I'd like to respond to.          But just I suppose I'd ask your

10:01:20   18    Honor if there's anything that you'd like me to respond to

10:01:24   19    further.

10:01:31   20                THE COURT:     No.    I'm fine.

10:01:33   21                Mr. Liu.

10:01:34   22                MR. LIU:     Yeah.    And so, I'll take the points

10:01:36   23    that Densys' counsel raised.

10:01:40   24                So first, with regards to his response to the

10:01:44   25    argument that they're jumping straight into the


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10:01:46   1     specification to find structure to avoid 112, paragraph 6,

10:01:50   2     I think their argument -- the arguments that they actually

10:01:52   3     made in the briefing, specifically, the footnote that they

10:01:55   4     pointed out, actually highlights that point.

10:01:58   5                 The footnote that counsel referenced to that

10:02:05   6     footnote was merely referring -- was pointing, again, to

10:02:09   7     the specification to identify various structures, but we

10:02:14   8     know that it's improper to just go straight to the

10:02:19   9     specification, point out one or two example structures and

10:02:22   10    say 112, paragraph 6, doesn't apply.

10:02:24   11                The same thing also applies with regard to the

10:02:27   12    dependent claims.        As you know, your Honor, dependent

10:02:33   13    claims further specify a term, but they don't purport to

10:02:37   14    limit the term in which it appears in the independent

10:02:41   15    claim.     Put it another way, the various different

10:02:44   16    structures relayed in the independent claim, those aren't

10:02:47   17    limiting on the measuring and imaging device that's

10:02:52   18    recited in claim 1.

10:02:53   19                And so, we don't think that those dependent

10:02:56   20    claims actually help Densys' argument where providing any

10:03:03   21    type of meaningful scope as to the structure of the

10:03:08   22    measuring and imaging device.

10:03:10   23                Second point, Densys' counsel raised an argument

10:03:16   24    with regards to the position and orientation guide.              As

10:03:20   25    counsel described it, it's essentially a rod that's


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10:03:23   1     attached to the measuring and imaging device, and all its

10:03:29   2     function is is to move the device around.               And that's not

10:03:32   3     actually relevant to the means-plus-function analysis

10:03:34   4     because in order to determine whether a structure --

10:03:39   5     whether a term connotes structure, you have to look at the

10:03:43   6     alleged structures and see if they're actually performing

10:03:45   7     the claim function.

10:03:46   8                 Here, the claim function is measuring and imaging

10:03:51   9     intra-oral objects.        It's clear that that position and

10:03:54   10    orientation guide is not performing that function.                Its

10:03:57   11    whole purpose is just a rod attached to the measuring and

10:04:00   12    imaging device to move it around.             So we don't think

10:04:02   13    that's relevant to the analysis.

10:04:05   14                And then, lastly, counsel raised the structure of

10:04:09   15    an ultrasound probe, and he cited to testimony from our

10:04:14   16    expert to apparently suggest that because our expert

10:04:20   17    acknowledged that one could conceivably understand what

10:04:23   18    the structure of an ultrasound probe is, that there would

10:04:28   19    be sufficient structure connoted to the term "measuring

10:04:32   20    and imaging device."         And again, I think this is

10:04:33   21    consistent with the way that Densys has presented their

10:04:39   22    argument is, they just go straight to the specification,

10:04:42   23    identify various examples of structures and say 112,

10:04:46   24    paragraph 6, doesn't apply.

10:04:47   25                And again, we'd submit, your Honor, that that's


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10:04:51   1     inconsistent with how recent Federal Circuit case law

10:04:57   2     addresses the means-plus-function analysis, and we request

10:04:59   3     that you disregard those arguments by Densys.

10:05:09   4                 THE COURT:     Thank you.      I'll be back with you all

10:05:11   5     in just a couple of seconds.

10:05:40   6                 I'd like to again, at this point, say what I say

10:05:43   7     a lot, which is, I'm always -- I'm very blessed to have

10:05:47   8     this job because I have really good lawyers who make these

10:05:52   9     arguments.      They're very sophisticated and usually do a

10:05:58   10    very good job on both sides, and that was true here.

10:06:03   11                But the Court is going to maintain its

10:06:06   12    preliminary claim construction and make it a final claim

10:06:08   13    construction and find that this claim term is not subject

10:06:11   14    to Section 112, paragraph 6, and it is going to give it

10:06:16   15    its plain and ordinary meaning.            It's going to find that

10:06:18   16    it is not indefinite.

10:06:23   17                I'm going to move on to the claim term from the

10:06:25   18    707 patent, which is "recording said global position of

10:06:30   19    said measuring and imaging device relative to said

10:06:34   20    intra-oral fixed global registration position" and

10:06:38   21    "measuring and recording global positions and orientations

10:06:42   22    of said measuring and imaging device" related -- "relative

10:06:47   23    to same said intra-oral fixed global registration

10:06:50   24    positions."

10:06:51   25                The plaintiff's construction was plain and


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10:06:54   1     ordinary meaning for both terms.            The Court has adopted

10:06:56   2     that.     I assume -- I'll start with the plaintiff.             I

10:06:59   3     assume that the plaintiff is okay with the Court's

10:07:03   4     preliminary construction.

10:07:04   5                 MR. BURGER:      Yes, your Honor.

10:07:05   6                 THE COURT:     I'll hear from defense counsel.

10:07:13   7                 MR. BELANGER:      I was on mute.       I apologize, your

10:07:15   8     Honor.

10:07:15   9                 I'd like to start, your Honor, by going to slide

10:07:25   10    29.     And I think the crux of the dispute, your Honor, is

10:07:35   11    whether this term "relative to" requires some knowledge

10:07:46   12    within the system of the relationship between the

10:07:52   13    measuring and imaging device and the intra-oral fixed

10:07:57   14    global registration position; and by simply saying that

10:08:01   15    the term has its plain and ordinary meaning may not

10:08:04   16    resolve that dispute.

10:08:07   17                If there -- in our mind, two ways that this could

10:08:13   18    be read.     One way would be that it's simply acknowledging

10:08:19   19    a law of nature, which is every local portion of the mouth

10:08:29   20    has some relation to every other portion of the mouth.               So

10:08:35   21    in this example in figure 1, it shows a field of view K

10:08:40   22    where you're taking a measurement and image of certain

10:08:45   23    teeth, and then, it shows apart from that, this intra-oral

10:08:50   24    global -- fixed global registration position.

10:08:53   25                In our understanding, the entire discussion in


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10:08:57   1     the patent is that a measurement or calculation is

10:09:01   2     performed so that the system knows where the measuring and

10:09:07   3     imaging device is relative to that fixed global

10:09:11   4     registration position when it takes the measurement.

10:09:17   5                 In the broadest reading of "relative to," you

10:09:20   6     could eliminate that item 74, which is showing some

10:09:24   7     communication or calculation and simply say, I'm taking a

10:09:31   8     local measurement, and that local measurement by

10:09:34   9     definition is relative to all other points in the mouth.

10:09:39   10    And so, respectfully, your Honor, we think clarification

10:09:41   11    on that point would be helpful.

10:09:45   12                We propose a construction where there was a

10:09:48   13    measurement required because that is what the patentee

10:09:50   14    describes when describing the novel aspects of the

10:09:54   15    invention.      That's what plaintiff's tutorial describes as

10:09:57   16    the novel aspect of the invention is performing a

10:10:01   17    measurement between the measuring and imaging device and

10:10:03   18    that fixed global reference point.

10:10:06   19                But we understand the Court's construction of

10:10:09   20    plain meaning.       We're just concerned that may not resolve

10:10:12   21    the dispute as we may hear plaintiff later try to

10:10:15   22    distinguish the prior art by observing that there's no

10:10:18   23    measurement or calculation performed to determine how far

10:10:25   24    away the measuring and imaging device is from some other

10:10:27   25    fixed point within the oral cavity.


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10:10:34   1                 And just in summary, your Honor, we don't believe

10:10:36   2     there's any description other than a measurement.

10:10:39   3     Plaintiffs in their brief and their slides point to a

10:10:42   4     calculation, but in this art, the calculation is simply

10:10:47   5     another way to describe the measurement when the end

10:10:53   6     result of the calculation is an indication of relative

10:10:56   7     position between two points.

10:10:58   8                 Unless your Honor has additional questions.

10:11:04   9                 THE COURT:     Thank you very much.         I'll be right

10:11:05   10    back.    Thank you for that break.

10:12:18   11                The Court is going to go with plain and ordinary

10:12:20   12    meaning for both terms and -- but the Court wanted to put

10:12:23   13    a couple of things on the record, as well.               The Court is

10:12:34   14    concerned that "measured from" doesn't really add

10:12:43   15    anything, doesn't -- isn't really -- doesn't really focus

10:12:46   16    down or help very much.          And also, I mean -- and I say

10:12:52   17    that in the context -- not to take that.               I'm saying that

10:12:56   18    -- which is kind of a fraction of a thought, but in the

10:12:59   19    context of the way that the briefing was done and the

10:13:03   20    suggestion that use of the words "imaging device measured

10:13:10   21    from" would assist in correcting any problems there were

10:13:13   22    with the claim language, the Court finds that does not --

10:13:17   23    it is not helpful.

10:13:18   24                And also, just because of the conflict between

10:13:26   25    the plaintiff's construction of ordinary meaning and the


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10:13:30   1     defendants' constructions here, their proposed, the Court

10:13:33   2     finds for purposes of you all going forward that the

10:13:36   3     defendants' proposed constructions would not be the plain

10:13:41   4     and ordinary meaning of these claim terms for purposes of

10:13:44   5     dealing with your experts.

10:13:45   6                 I will move on to patent claim 707 with regard to

10:13:56   7     registering local coordinate -- it says -- I skipped -- I

10:14:01   8     should have included this.           I should have included

10:14:05   9     everything.      There is a little letter (f) and then, it

10:14:07   10    says "registering local coordinate space pixel positions

10:14:11   11    in each of said plurality of globally recorded

10:14:16   12    three-dimensional measurements and images with

10:14:19   13    corresponding global coordinate space pixel position."

10:14:25   14                And then also, we're thinking we may be able to

10:14:33   15    skip this one, given what we discussed earlier, but I

10:14:36   16    would ask counsel if that's correct.              Not that you don't

10:14:40   17    want to maintain the concerns that you raised earlier, and

10:14:43   18    I would keep those on the record, but our sense is that we

10:14:48   19    will cover those.        But let me make clear, if either side

10:14:51   20    wants to make any argument about either, I'm completely

10:14:55   21    open to hearing it at this time.

10:14:58   22                MR. BELANGER:      Yes --

10:14:59   23                THE COURT:     So I'll start -- go ahead.            I'm

10:15:00   24    sorry.     Go ahead, please.

10:15:02   25                MR. BELANGER:      Do you want to start with me or


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10:15:04   1     plaintiff?

10:15:04   2                 THE COURT:     Yes.     That will be fine.

10:15:06   3                 MR. BELANGER:      Thank you, your Honor.

10:15:06   4                 So I think you're correct.          This was a sequence

10:15:09   5     of steps argument which we put forward in the briefing.               I

10:15:15   6     would just note for the record, we think the argument as

10:15:18   7     of this phrase, the sequence is imparted in part by the

10:15:22   8     discussion of the novelty of the patent, which I addressed

10:15:25   9     earlier in my argument but, also, just based on a plain

10:15:29   10    reading of the language where step (f) requires something

10:15:34   11    that is -- does not exist until the performance of step

10:15:39   12    (e), which is this plurality of globally recorded

10:15:44   13    three-dimensional measurements.            But it is an argument

10:15:47   14    about sequence.

10:15:48   15                And so, respectfully, we understand the Court's

10:15:50   16    ruling.     Happy to answer any questions that are unique to

10:15:54   17    this term, but I think it is the same.

10:15:55   18                THE COURT:     Okay.     And I'll put on the record at

10:16:00   19    a macro level again, the Court doesn't believe sequencing

10:16:05   20    is required.      On a micro level with respect to this

10:16:08   21    specific claim term, the Court specifically does not

10:16:10   22    believe that (f) is required to occur after step -- for my

10:16:16   23    court reporter, that little letter (f) must occur after

10:16:21   24    step little letter (e).           I know I sound like I'm talking

10:16:26   25    to third graders.        I'm just trying to make sure it's clear


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10:16:28   1     on the record for Lily what I'm trying to say here.

10:16:32   2                 The defendants' construction was -- I'm just

10:16:36   3     going to quote the first part of it -- little "(f) after

10:16:38   4     step (e), registering local coordinate space pixel

10:16:43   5     positions."      The Court specifically finds the steps do not

10:16:48   6     have to -- steps do not have to take place in that

10:16:51   7     specific order, and will note obviously the defendant

10:16:56   8     proposed that so they -- that they thought that was

10:16:59   9     correct.     And so, your objection to my construction would

10:17:03   10    be sustained -- would be noted for the record.

10:17:06   11                The Court will go with plain and ordinary meaning

10:17:09   12    without an ordering of steps.           Do you think I've

10:17:13   13    sufficiently preserved for you your concerns for the

10:17:17   14    record with regard to the claim construction?

10:17:19   15                MR. BELANGER:      I believe so, your Honor.         Thank

10:17:22   16    you.

10:17:22   17                THE COURT:     Okay.     Thank you.

10:17:23   18                Next claim term, the 707 patent has, quote,

10:17:30   19    mobile registration device for measuring and recording

10:17:34   20    global positions and orientations of said measuring and

10:17:39   21    imaging device.       The plaintiff has proposed plain and

10:17:44   22    ordinary meaning.        The defendants propose that the claim

10:17:47   23    term is subject to 35 United States Code, Section 112,

10:17:53   24    paragraph 6.      The Court's preliminary construction is that

10:17:55   25    it is not subject to 112, paragraph 6, and that plain and


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10:18:01   1     ordinary meaning should be what the Court imposes.

10:18:05   2                 I'm assuming from the plaintiff that the

10:18:08   3     plaintiff accepts what the Court has proposed; is that

10:18:11   4     correct?

10:18:11   5                 MR. BURGER:      Yes, your Honor.

10:18:13   6                 THE COURT:     Okay.     I'll hear from defendant.

10:18:16   7                 MR. BELANGER:      Your Honor, I think the issue here

10:18:20   8     is similar in that we believe 112, 6 should apply to this

10:18:27   9     claim term.      The arguments are similar.          I'm happy to --

10:18:31   10    and Mr. Liu is prepared to present those arguments if it

10:18:34   11    would be helpful to the Court, but I think it is the same

10:18:37   12    issue where we believe this claim phrase is merely

10:18:44   13    functional language with a term thrown at the beginning

10:18:46   14    that doesn't have any recognized structure.

10:18:50   15                THE COURT:     Let me say this.        This is y'all's

10:18:53   16    Markman hearing.        If Mr. Liu has anything he'd like to

10:18:57   17    add, in addition to what he argued earlier, he is

10:18:59   18    absolutely welcome to do that, and I'll hear from

10:19:02   19    plaintiff's counsel.         If your argument is essentially

10:19:08   20    pretty much what you argued earlier, I think I'm pretty

10:19:11   21    familiar with the law on this, and I know why I made this

10:19:18   22    preliminary construction.          But I'm absolutely -- Mr. Liu's

10:19:21   23    free to make any argument that he'd like to make.                So just

10:19:24   24    let me know.

10:19:27   25                MR. BELANGER:      Yeah.    I think I'll let Mr. Liu


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10:19:29   1     just briefly address the issue, your Honor, so it could be

10:19:31   2     on the record.

10:19:31   3                 THE COURT:     Sure.     Please do.

10:19:33   4                 MR. LIU:     Yeah.     And I appreciate the

10:19:36   5     opportunity.

10:19:36   6                 I won't belabor the point, but I think the

10:19:40   7     argument is similar.         I think it's actually here, the term

10:19:43   8     is, you know, one step even more removed than the

10:19:47   9     measuring and imaging device.           Mobile registration device

10:19:51   10    is not a term of art.         There's no evidence that it's --

10:19:56   11    there's no evidence, either in the form of a dictionary

10:20:00   12    definition or a treatise, to suggest that it connotes some

10:20:02   13    type of well-understood structure.             Again, it's a verbal

10:20:10   14    construct that with the term "device," which is a nonce

10:20:14   15    term, appended to the end of it.

10:20:16   16                And if you look at the structure of the claim --

10:20:18   17    and, Jim, can you pull up slide 67?             Oh, sorry, 62.    I

10:20:31   18    apologize.      The language of the claim after mobile

10:20:40   19    registration device is purely functional language.               It

10:20:44   20    recites the function of measuring and recording global

10:20:47   21    positions and orientations of the measuring and imaging

10:20:50   22    device.     It doesn't provide any -- it doesn't purport to

10:20:52   23    provide any structure or providing that measurement or

10:20:56   24    recording of the global positions of the measuring device.

10:20:59   25    It just recites a pure function.            And we submit, your


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10:21:04   1     Honor, that's, again, pure means-plus-function claiming.

10:21:09   2                 And going to the next slide, slide 64.               Sorry,

10:21:20   3     the next slide, 64.        And again, the specification confirms

10:21:24   4     this.    Again, the way that the specification describes the

10:21:30   5     mobile registration device, it merely provides a laundry

10:21:33   6     list of broad and vague mechanisms that could be used to

10:21:38   7     perform the function of measuring and recording the global

10:21:43   8     positions of the measuring and imaging device.

10:21:45   9                 Again, it gives the example of electrical and

10:21:51   10    electromechanical mechanisms, and we submit, your Honor,

10:21:54   11    that those descriptions are extremely vague and don't

10:21:59   12    really provide any guidance as to what the corresponding

10:22:02   13    structure would be to perform the function of measuring

10:22:07   14    and recording the global positions of the measuring and

10:22:10   15    imaging device.

10:22:14   16                And with respect to that, I think that's -- as

10:22:21   17    you can see, it's very similar to the mobile registration

10:22:27   18    -- sorry, the measuring and imaging device term.                  And I'll

10:22:29   19    pass to plaintiff's counsel to see if he has any comments.

10:22:34   20    Or if you have any questions, your Honor, I'd be glad to

10:22:37   21    address them.

10:22:38   22                THE COURT:     Sounds great.

10:22:40   23                Does plaintiff's counsel have anything they'd

10:22:42   24    like to put on the record?

10:22:43   25                MR. BURGER:      Your Honor, it seems from what I'm


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10:22:47   1     hearing that you're very familiar with the briefs.                 Unless

10:22:54   2     you have a question about what defense --

10:22:57   3                 THE COURT:     I don't.     No.    I don't.

10:22:58   4                 I just want to give you -- I gave Mr. Liu an

10:23:01   5     opportunity to put whatever he wants on the record as to

10:23:03   6     why I'm wrong.       And if you have anything you'd like to put

10:23:09   7     on the record to address what he said specifically, you're

10:23:12   8     free to.     If not, I'm happy to rule and move on to the

10:23:14   9     next term.

10:23:15   10                MR. BURGER:      I obviously don't agree with what

10:23:18   11    Mr. Liu said, but I think that the reasons why I disagree

10:23:21   12    are plain from our briefs.           So I will rest on what is

10:23:27   13    contained in our briefs.

10:23:28   14                THE COURT:     Very good.      That's fine.

10:23:30   15                The Court is going to find that that claim term

10:23:32   16    is not subject to Section 112, paragraph 6, and give it

10:23:37   17    the claim construction of plain and ordinary meaning.

10:23:40   18                The next claim term that we have up is from the

10:23:44   19    768 patent, which is the claim term "sector."                The

10:23:49   20    plaintiff has proposed plain and ordinary meaning.                 The

10:23:52   21    Court has adopted plain and ordinary meaning for the word

10:23:57   22    "sector."

10:23:58   23                The defendant has proposed "region defined by two

10:24:04   24    radii at" -- I hope I said that correctly.                Josh, did I

10:24:08   25    get close?      "Radii at a given angle to each other."             And


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10:24:13   1     so, I'll hear -- I'm going to guess this is from Mr. Liu.

10:24:19   2     But I could be wrong.

10:24:21   3                 MR. PATNAIK:      Actually, you are wrong, your

10:24:23   4     Honor.     It's Mr. Patnaik.

10:24:26   5                 THE COURT:     I'm equally happy to hear from you.

10:24:30   6     So I invite you to say whatever you'd like in support of

10:24:34   7     your proposed construction.

10:24:36   8                 MR. PATNAIK:      Thank you, your Honor.

10:24:37   9                 Real quick, I just -- I am looking at plain and

10:24:41   10    ordinary.      We actually tried to expound on the plain and

10:24:46   11    ordinary, or actually put forth we used extrinsic evidence

10:24:47   12    like dictionary definitions and our expert.                Plaintiff in

10:24:51   13    advocating plain and ordinary, it's curious to us because

10:24:54   14    we don't think that's actually advocating plain and

10:24:54   15    ordinary.      If you look at their briefing, your Honor, and

10:24:58   16    I'll be specific.        In their reply submission -- in their

10:25:01   17    responsive claim construction brief, they criticize 3Shape

10:25:05   18    for using the geometric definition of sector.

10:25:08   19                So I would argue, your Honor, today, that if you

10:25:12   20    look at what they're actually saying, they're not saying

10:25:15   21    plain and ordinary.        They're saying plain and ordinary

10:25:16   22    when you have to carve out geometric.              They're

10:25:19   23    acknowledging that the geometric definition of sector is

10:25:22   24    what we have propounded.

10:25:23   25                So we would like some clarity because we don't


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10:25:27   1     think what plaintiff actually said in their briefs or

10:25:29   2     their expert declaration is plain and ordinary.                  And

10:25:32   3     again, I'll be specific with their declaration.                  Dr. Bajaj

10:25:39   4     at paragraph 48 of his expert declaration says very

10:25:43   5     plainly, establishes that the word "sector" is not being

10:25:47   6     used in the geometric sense.

10:25:49   7                 So there's no, as far as we can see in the

10:25:52   8     specification or the patent, otherwise, any disavowal of

10:25:55   9     this geometric sense.         In fact, the patent is sprinkled

10:25:59   10    with references to the geometric context that this full

10:26:04   11    patent is being read within.           So it was curious to us that

10:26:08   12    they're saying plain and ordinary, but not geometric, but

10:26:12   13    at the same token, it leaves a dispute outstanding, your

10:26:16   14    Honor.     And I'll leave it at that.

10:26:19   15                THE COURT:     That's a good argument.          Give me one

10:26:21   16    second, I'll be right back.           I appreciate the issue -- let

10:31:53   17    me go back on the record.

10:31:54   18                I appreciate the issue that defense counsel has

10:31:56   19    raised and we believe -- I believe that a word like

10:32:02   20    "sector," absent some compelling reason -- and I don't

10:32:07   21    think defendant is even arguing there is a compelling

10:32:09   22    reason here to give it a construction -- should be given a

10:32:13   23    construction beyond plain and ordinary meaning.

10:32:16   24                That being said, I certainly understand the

10:32:21   25    defendants' concern with the wording that was used in the


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10:32:28   1     plaintiff's brief.        And I understand the plaintiff's

10:32:31   2     concern with the proposed construction in defendants'

10:32:35   3     brief, given that this is a three-dimensional -- a patent

10:32:39   4     that involves three dimensions.

10:32:41   5                 So the Court, when we enter our claim

10:32:45   6     construction order, we will -- we'll make clear -- we will

10:32:52   7     amplify what is meant by plain and ordinary meaning to

10:32:55   8     help you all when you're preparing with your experts.             But

10:32:58   9     the Court is going to maintain a claim construction of

10:33:02   10    plain and ordinary meaning.           And I appreciate defense

10:33:04   11    counsel bringing to the Court's attention what the concern

10:33:08   12    was with that claim term.          And the Court will do its best

10:33:12   13    to address that in the order based on what was said in the

10:33:15   14    briefs.

10:33:15   15                With regard to the next claim term in the 768.

10:33:21   16                MR. PATNAIK:      Your Honor, before we go on, could

10:33:23   17    I just make one clarification point?

10:33:23   18                THE COURT:     Sure.

10:33:25   19                MR. PATNAIK:      You brought up the idea of the

10:33:26   20    distinction because it's 3-D, and that was curious to me

10:33:32   21    because going through the plaintiff's briefs, we thought

10:33:34   22    it was very conclusory for their expert to say there's

10:33:37   23    some distinction between a sector in 2-D versus 3-D.             We

10:33:42   24    didn't see any real support for it; it was just kind of

10:33:45   25    said.     And the easy example that comes to mind is a


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10:33:47   1     sphere.     That's 3-D and a sphere will have a sector, as

10:33:50   2     well.

10:33:50   3                 So, you know, I know that distinction was made,

10:33:53   4     but we didn't really understand the point that was being

10:33:55   5     made.     And I just want to make sure that -- that doesn't

10:33:59   6     go unaddressed because it wasn't something that was really

10:34:02   7     honed in on.

10:34:05   8                 THE COURT:     Well, let me make clear.          The Court

10:34:08   9     rarely, very rarely -- and won't probably in this

10:34:13   10    instance -- relies on extrinsic evidence.               And so, I

10:34:17   11    understand your concern.          I'm pretty well on the record

10:34:23   12    that, you know, I do my best to look at the intrinsic

10:34:27   13    evidence and the specification.            And that's why I'm saying

10:34:30   14    with regard to a word like "sector," that here, my

10:34:38   15    philosophy is -- generally speaking is this.

10:34:40   16                That when someone is -- when an attorney is doing

10:34:45   17    their best -- when they are prosecuting the patent and

10:34:48   18    they're doing best to capture the intention of the

10:34:52   19    inventor, they -- and they're drafting it, I think there

10:34:57   20    are words and selections of words and phrases that they

10:35:01   21    use where they would understand and anticipate that if the

10:35:07   22    patent is granted, that there might be a challenge and

10:35:10   23    that they need to define those claim -- that those words

10:35:13   24    need to be construed.         They could do that in the

10:35:17   25    specification, you know, all that stuff.


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10:35:19   1                 But on the other hand, when a person is drafting

10:35:23   2     a patent, trying to capture an invention and they use a

10:35:27   3     word like "sector" that, in my opinion, they anticipate

10:35:34   4     everyone skilled in the art, generally speaking, to know

10:35:39   5     unless they have to disavow something during the

10:35:40   6     prosecution or, in this case, if the patent involved a new

10:35:45   7     way of creating sectors and they had to explain what the

10:35:48   8     word "sector" meant, I'm very reluctant to go down the

10:35:54   9     road of construing a word like "sector," you know, or a

10:36:01   10    word like "pole," which I've been asked to do, you know,

10:36:06   11    or "pipe."      You know, I don't do that.

10:36:11   12                On the other hand, I understand your concern that

10:36:16   13    you have a concern based on the briefing that was done by

10:36:20   14    the plaintiff.       I don't want you all, if I can avoid it,

10:36:24   15    to get to the point where your experts are coming up with

10:36:31   16    and opining in their reports and at depositions on whether

10:36:35   17    or not there's infringement or whether or not there's

10:36:37   18    invalidity because of some confusion over what the word

10:36:44   19    "sector" means.

10:36:44   20                We are going to do our best when we draft the

10:36:47   21    order to make it as clear as possible what we think the

10:36:50   22    plain and ordinary meaning of "sector" is.               Failing that,

10:36:56   23    then I anticipate I might receive Daubert motions or

10:37:00   24    motions for summary judgment down the road if one of you

10:37:04   25    -- if one of you believes the other side's experts has


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10:37:07   1     taken a position on what the word "sector" means in the

10:37:10   2     context of this patent that is not -- that should not fall

10:37:14   3     within the plain and ordinary meaning.

10:37:16   4                 So let me move on to the next claim term, which

10:37:19   5     is "identifiable positional characteristic."                The

10:37:24   6     plaintiff's construction is plain and ordinary meaning.

10:37:26   7     The defendants' construction is that it is indefinite

10:37:28   8     under 35 United States Code, Section 112, 6 -- paragraph

10:37:36   9     6.   The Court's proposed construction is, it is not

10:37:39   10    subject to Section 112, paragraph 6.              And I'll say this in

10:37:45   11    part for the benefit of the defendants and they have

10:37:49   12    clients on board.

10:37:52   13                I think we have only once found in this situation

10:37:57   14    when a defendant made the proposal that something was

10:37:59   15    subject to Section 112, paragraph 6, that it, indeed, was.

10:38:08   16    So it is probable -- I'm probably in the 98 percent

10:38:11   17    category of rejecting these arguments, and so, it's

10:38:16   18    consistent with my general philosophy of patent law.

10:38:19   19                The Court's construction here is that claim term

10:38:23   20    "identifiable positional characteristic" of plain and

10:38:27   21    ordinary meaning is "a characteristic of the reference

10:38:31   22    surface device that facilitates the conversion of 2-D

10:38:34   23    images to 3-D models."         I'll hear first from the plaintiff

10:38:38   24    as to whether or not you are satisfied with the Court's

10:38:44   25    interpretation of what the plain and ordinary meaning is.


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10:38:49   1                 MR. BURGER:      Thank you, your Honor.

10:38:50   2                 This is the term where we proposed a slight

10:38:57   3     modification.       I have some slides for what our proposal is

10:39:02   4     for what the plain and ordinary meaning of the term means

10:39:07   5     and slides relating to the spec support.               Here we are.

10:39:25   6     And can you guys see my screen at this point?                All right.

10:39:34   7     I'll take the silence as a yes.

10:39:36   8                 So, your Honor, we do agree with the first

10:39:44   9     portion.

10:39:44   10                THE COURT:     Give me one second because I'm

10:39:48   11    looking right now at your proposal, and I may take it and

10:39:55   12    modify your proposal a little bit.             So let me work on that

10:40:00   13    for just a second here and come back to you all with

10:40:03   14    perhaps a modification of what the Court's preliminary

10:40:06   15    construction was, based off of what the plaintiff

10:40:11   16    suggested.      Give me just one second.

10:40:14   17                MR. BURGER:      Thank you, your Honor.

10:41:37   18                THE COURT:     Allow me to go back on the record.

10:41:39   19                I am going to take what the plaintiff has

10:41:43   20    suggested.      I am going to change the word "stitching"

10:41:48   21    because I don't think that necessarily helps the jury

10:41:51   22    because I might have to explain to them what stitching

10:41:54   23    means, but I'm going to use it as the foundation.                And the

10:42:01   24    Court is now going to offer and so the defendant knows

10:42:05   25    what it's arguing against, and I'll see if the plaintiff


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10:42:09   1     is okay with this.        Plaintiff will get to go first and

10:42:12   2     tell me if I've gotten it wrong.

10:42:15   3                 A characteristic of the reference surface device

10:42:19   4     that facilitates conversion of a 2-D image to 3-D models

10:42:24   5     or combining -- and I'm using the word "combining" rather

10:42:28   6     than the proposed word "stitching" -- "a first

10:42:32   7     three-dimensional model to a second three-dimensional

10:42:35   8     model."

10:42:35   9                 So let me hear from the plaintiff first and ask

10:42:39   10    if you are satisfied with that proposed claim

10:42:42   11    construction.

10:42:45   12                MR. BURGER:      Yes, your Honor.       The substitution

10:42:47   13    of the word "combining" for the proposed word "stitching"

10:42:51   14    is acceptable to the plaintiff.

10:42:53   15                THE COURT:     Okay.     So let me turn, then, to

10:42:56   16    defense counsel and hear any arguments you have why the

10:43:01   17    Court's proposed construction, which is the one I just

10:43:06   18    gave with regard to "combining" in it, is incorrect.

10:43:11   19                MR. LIU:     Yes, your Honor.       This is Frank Liu on

10:43:14   20    behalf of the defendants.

10:43:15   21                So the language that was proposed -- and at the

10:43:22   22    outset, we'd just note that our original proposed

10:43:25   23    construction was not 112, paragraph 6.              It was actually

10:43:28   24    intended just to be an indefiniteness under 112, paragraph

10:43:32   25    2.   So we apologize if there's any confusion around that.


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10:43:37   1                 And after receiving the Court's preliminary

10:43:41   2     construction, we took a look at it, and we thought that

10:43:46   3     the Court's preliminary construction was helpful in

10:43:53   4     providing what the understanding of the plain and ordinary

10:43:55   5     meaning.     However, we believe that the addition that's

10:43:58   6     been just proposed would improperly attempt to import a

10:44:07   7     preferred embodiment into the claims.

10:44:10   8                 And so, just to be clear, defendant would be fine

10:44:16   9     with the language -- or with the construction, "a

10:44:20   10    characteristic of the" --

10:44:22   11                THE COURT:     Mr. Liu, let me ask you something.

10:44:24   12    You've touched on something that I always gotta be careful

10:44:31   13    how I say it.       You look so young to me that I was going to

10:44:35   14    say something like I've been practicing law longer, but I

10:44:38   15    won't.     But I probably have been practicing law longer

10:44:42   16    than any of you have been alive.            But I never --

10:45:01   17                MR. PATNAIK:      Your Honor, we've lost audio for

10:45:04   18    you.

10:45:06   19                THE COURT:     Oh, can you hear me now?

10:45:11   20                MR. PATNAIK:      It's muffled.       It's muffled and

10:45:14   21    distorted.

10:45:16   22                THE COURT:     Okay.     Let me do this then.        I'm

10:45:25   23    going to log out and log back in.

10:45:28   24                MR. BURGER:      Your Honor, it appears to have

10:45:29   25    resolved.


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10:45:30   1                 THE COURT:     Very good.

10:45:33   2                 So what I was saying is, I don't know that it's

10:45:37   3     not a good argument or a legitimate argument.                I've just

10:45:42   4     never -- Mr. Liu, I've never heard a defendant concerned

10:45:44   5     that a plaintiff was importing a limitation from the

10:45:50   6     specification into a claim construction because typically,

10:45:57   7     you know, that's a narrowing of what -- the argument

10:46:01   8     against doing that philosophically is if the claim is

10:46:05   9     broad and a defendant -- the claim is usually -- the

10:46:08   10    argument's usually going the other way.              The plaintiff is

10:46:11   11    saying, Judge, you can't use that construction because

10:46:13   12    it's a limitation.        My claim is actually broader and they

10:46:17   13    want to limit it.        Why would a defendant care if the

10:46:21   14    plaintiff -- I'm not saying it's right or wrong, but why

10:46:25   15    can't a plaintiff do that?           I guess I've just never heard

10:46:29   16    anyone make that argument before.

10:46:32   17                MR. LIU:     And let me see if I can explain.

10:46:33   18                THE COURT:     Okay.

10:46:34   19                MR. LIU:     So the language that Densys' counsel

10:46:39   20    proposed, the portion of the specification that they cite

10:46:44   21    to, which is column 6, lines 58 through column 7, line 11,

10:46:53   22    that's where the limitations of the first

10:46:56   23    three-dimensional model to a second three-dimensional

10:46:59   24    model come from.

10:46:59   25                And in that part of the specification -- and,


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10:47:06   1     Jim, can I actually get that pulled up onto the screen?

10:47:33   2     Sorry.     Can we get the 768 patent?          So, Jim, can you blow

10:47:58   3     up column 6, lines 58 through 7, 11?

10:48:23   4                 MR. BURGER:      Frank, I have the slide where you

10:48:25   5     can see the entire portion that we're relying on, if you'd

10:48:29   6     like it, I can just throw that up.             It might be easier for

10:48:34   7     everyone to see.

10:48:37   8                 MR. LIU:     That's fine.      Jim, if you already have

10:48:42   9     -- it seems like your --

10:48:44   10                MR. BURGER:      Here.    I just think this might be

10:48:51   11    simpler since you're referring to what we submitted.

10:49:00   12                MR. LIU:     Thank you, Oded.       I appreciate that.

10:49:05   13                Yeah.    And so, this is the relevant portion of

10:49:09   14    the specification that plaintiff's counsel cited to for

10:49:13   15    support for the limitation, which makes reference to the

10:49:19   16    first three-dimensional model to a second

10:49:22   17    three-dimensional model.          If you can see the first line of

10:49:26   18    that portion, it begins with furthermore, according to

10:49:30   19    some embodiments of the present invention, there is

10:49:32   20    provided a method for producing a three-dimensional model

10:49:35   21    of an intra-oral scene.          And then, it goes on to list the

10:49:40   22    various steps of this method.

10:49:42   23                And as you can see in steps -- step (e), it

10:49:50   24    recites the first two-dimensional image of the

10:49:54   25    three-dimensional -- of the intra-oral scene, including a


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10:49:56   1     first reference surface and at least one identifiable

10:50:00   2     positional characteristic.

10:50:03   3                 Step (f) is where it recites obtaining a first

10:50:06   4     three-dimensional model from a two-dimensional image.              And

10:50:11   5     step (h) recites obtaining a second three-dimensional

10:50:14   6     model from the --

10:50:16   7                 THE COURT:     Mr. Liu, can I ask you a question?

10:50:19   8     Since I'm -- since I am saying what plain and ordinary

10:50:26   9     meaning means and I'm looking at what you're saying here,

10:50:31   10    how would -- and I'm using the word "combining" instead of

10:50:36   11    "stitching," but how would combining, which is in the

10:50:41   12    specification, combining the first three-dimensional model

10:50:46   13    to the second three-dimensional model not be part of the

10:50:49   14    plain and ordinary meaning if it's disclosed in the

10:50:53   15    specification?

10:50:54   16                I mean, I guess we could quibble on whether or

10:50:59   17    not I ought to include that language in my claim

10:51:03   18    construction and that might even go to whether or not it

10:51:06   19    helps a jury or doesn't help a jury.              But even if I left

10:51:09   20    that language out of my explanation of what a plain and

10:51:15   21    ordinary meaning is for the 768 patent, how would that

10:51:19   22    possibly not be part of the plain and ordinary meaning of

10:51:25   23    what's covered here by identifiable positional

10:51:30   24    characteristic when it's discretely disclosed?

10:51:35   25                MR. LIU:     Well, your Honor, I think that the


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10:51:40   1     Court's original construction of a characteristic of the

10:51:44   2     reference surface device that facilitates conversion of

10:51:47   3     2-D images to 3-D models, we think that's a clear and

10:51:51   4     concise definition for the identifiable positional

10:51:55   5     characteristic.        We think by injecting the additional

10:51:59   6     language "or combining a first three-dimensional model to

10:52:03   7     a second three-dimensional model," that injects some

10:52:07   8     ambiguity into the claim language because now it takes

10:52:11   9     away that original requirement of the reference surface

10:52:19   10    device facilitating the conversion of 2-D images to 3-D

10:52:23   11    models.

10:52:24   12                THE COURT:     Mr. Liu, let me try this.             Let me go

10:52:26   13    back to the plaintiff for a second.             Plaintiff's counsel.

10:52:31   14                MR. LIU:     Yes, your Honor.

10:52:32   15                THE COURT:     I am, frankly, agnostic probably

10:52:37   16    whether I include the language that you have proposed in

10:52:44   17    that the Markman is to do two things.              One is to make

10:52:48   18    certain you all know what is -- what I think the claim

10:52:52   19    term means, and the other's possibly to benefit the jury

10:52:57   20    in explaining what they otherwise might not understand.

10:53:01   21                I can tell you on the record right now -- and

10:53:07   22    we'll have a transcript of this so you can remind me of

10:53:09   23    this when we get to trial and I may have forgotten it.

10:53:13   24    But as far as I'm concerned, stitching or combining the

10:53:18   25    first three-dimensional model to the second


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10:53:21   1     three-dimensional model as is in the specification is part

10:53:26   2     of the plain and ordinary meaning of identifiable

10:53:29   3     positional characteristic.

10:53:31   4                 If you don't care -- if me having said that, do

10:53:36   5     you care whether or not I include it in the construction I

10:53:40   6     have, which is going to go to the jury?

10:53:44   7                 MR. BURGER:      Yes --

10:53:45   8                 THE COURT:     Because I am --

10:53:45   9                 MR. BURGER:      I apologize.

10:53:47   10                THE COURT:     No.     Please.

10:53:47   11                MR. BURGER:      No.    I actually believe that it's

10:53:49   12    important and I have a slide to explain why.

10:53:51   13                THE COURT:     Okay.

10:53:52   14                MR. BURGER:      Previous slide and that's -- this is

10:53:55   15    the portion of the specification that speaks to the way

10:54:02   16    that the identifiable positional characteristic relates to

10:54:07   17    driving 3-D information from 2-D images.               But it's

10:54:14   18    important that the spec uses the word "typically" there.

10:54:18   19    It is sometimes the case, but it is not always the case.

10:54:22   20    And the instances when it is the case relate to structured

10:54:29   21    illumination, which is a way of getting 3-D information

10:54:33   22    from 2-D images.

10:54:34   23                But the spec is very clear that this invention

10:54:40   24    does not only relate to instances when this reference

10:54:47   25    surface device is being used with the structured


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10:54:52   1     illumination.       And the cite, for your Honor's benefit, for

10:54:58   2     how structured illumination is not the only way in order

10:55:02   3     to get 3-D information in the context of this invention is

10:55:09   4     -- the cite I'd like to give you is column 1, lines 39

10:55:13   5     through 56.      There are other cites, as well, that I don't

10:55:19   6     have at my fingertips, but that cite is very clear that

10:55:26   7     structured illumination is not required.               I believe, in

10:55:30   8     fact, that some of the defendants' briefing even agrees

10:55:34   9     with that point.

10:55:35   10                And so, that's why this word "typically" that

10:55:37   11    we're looking at the portion of the specification at

10:55:43   12    column 10, lines 23 through 36, the fact that it uses the

10:55:48   13    word "typically," I think that, again, the identifiable

10:55:55   14    positional characteristic can be used for this purpose,

10:55:59   15    but this is not the only purpose for which the

10:56:03   16    identifiable positional characteristic is disclosed.                  And

10:56:07   17    that is why I believe the Court's explanation as to what

10:56:12   18    the plain and ordinary meaning should include the other

10:56:18   19    sense, which is disclosed at column 6, line 58 through

10:56:24   20    column 7, line 11.

10:56:29   21                MR. DAIGNAULT:       Yes, your Honor.       This is Ron

10:56:32   22    Daignault speaking.

10:56:33   23                Further to counsel's point, one of the things

10:56:36   24    that we believe is that as the Court construed plain and

10:56:40   25    ordinary meaning, or illuminated what plain and ordinary


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10:56:44   1     meaning is, we would just respectfully submit that it

10:56:47   2     actually is limiting to the 2-D, 3-D concept, and that it

10:56:50   3     would be excluding the combining or stitching that's

10:56:53   4     talked about in the spec.

10:56:54   5                 So that's -- so in addition to what Mr. Burger

10:57:00   6     mentioned and the fact that it talks about typically, our

10:57:05   7     issue really was that on its face, it just seemed that the

10:57:08   8     Court was limiting the construction.              We understand from

10:57:10   9     the Court's comments that you would be including the

10:57:13   10    combining, stitching as part of plain and ordinary

10:57:16   11    meaning.

10:57:17   12                So if the jury, though, only sees the portion

10:57:20   13    about 2-D, 3-D, then they may not appreciate that you have

10:57:24   14    this combining aspect, too, which is actually embodiment

10:57:27   15    in the patent and would be excluded arguably from the

10:57:32   16    construction.

10:57:37   17                THE COURT:     Okay.     If I could hear from

10:57:40   18    whoever -- I apologize.          I forgot who it was that was

10:57:42   19    arguing on behalf of defendant.            Mr. Liu, I think.

10:57:46   20                MR. LIU:     Yes, your Honor.

10:57:47   21                And if I may comment on that point.             And I think

10:57:52   22    one point I wanted to make clear was that the modified

10:58:00   23    construction uses the term "or."            So in other words,

10:58:08   24    they're effectively not going to require the identifiable

10:58:13   25    positional characteristic to require a characteristic of


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10:58:19   1     the reference surface device that facilitates conversion

10:58:22   2     of 2-D images to 3 models.           We believe that the

10:58:25   3     specification, particularly the portion that plaintiff's

10:58:32   4     counsel put up on 10, lines 23 through 36, provides that

10:58:38   5     requirement for the conversion of the 2-D image just to

10:58:42   6     the 3 models.

10:58:43   7                 That being said, we don't believe that once you

10:58:54   8     -- with that being said, we're not trying to read out the

10:58:56   9     -- we're not trying to preclude them from subsequently

10:59:00   10    relying upon combining first three-dimensional model to a

10:59:04   11    second three-dimensional model.

10:59:07   12                So just at a high level, the way that this works

10:59:09   13    is that you have your structured illumination, you create

10:59:14   14    these two-dimensional images and you generate a

10:59:18   15    three-dimensional model.          That three-dimensional model is

10:59:20   16    only a small portion of the object.             And in order to

10:59:25   17    capture the full three-dimensional model, you need to

10:59:30   18    capture multiple of these.           So you would have multiple 2-D

10:59:32   19    images that you convert to 3 models, and then, you can

10:59:35   20    subsequently stitch them together to create entire

10:59:39   21    three-dimensional model.

10:59:39   22                So I guess more simply put, I think we would be

10:59:47   23    okay with the modification if instead of using the term

10:59:50   24    "or," you use the word "and" combining the first

10:59:53   25    three-dimensional model to a second three-dimensional


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10:59:55   1     model.

11:00:03   2                 THE COURT:     Okay.     The Court is going to go with

11:00:06   3     the proposal that I read that included the word "capable."

11:00:11   4     And I don't think the change of the word from "and" --

11:00:14   5     from "or" -- I'm sorry, combined and I don't think Mr.

11:00:18   6     Liu's correct when he says it should be "and" rather than

11:00:21   7     "or."     I think "or" is appropriate.

11:00:24   8                 So let's move to the next claim term, the 768

11:00:29   9     patent.     Claim term is "a plurality of faces" and "each

11:00:34   10    face of said plurality of faces at an angular orientation

11:00:37   11    with respect to each adjacent face."              The Court's proposed

11:00:43   12    construction is plain and ordinary meaning.                Defendants'

11:00:47   13    obviously is much more robust.            I'll hear from whoever is

11:00:51   14    going to speak on behalf of defendants with respect to

11:00:54   15    their construction -- or their proposed construction.

11:00:58   16                MR. PATNAIK:      Your Honor, this is Mr. Patnaik

11:01:00   17    again on this one.

11:01:00   18                So on this one, I'm mindful of your earlier words

11:01:04   19    about how you generally construe terms.              We do have a very

11:01:08   20    strong indication in the specification here of the

11:01:11   21    patentee actually acting as his own lexicographer and

11:01:15   22    putting forth certain properties with respect to the

11:01:17   23    claims that are used in the claim -- or the terms that are

11:01:20   24    used in the claim, and I'll specify claim 10.

11:01:22   25                So the dispute at its crux is that defendants are


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11:01:26   1     putting or 3Shape is putting in this "substantially plane"

11:01:31   2     language, and I think that's where the dispute is.                I'll

11:01:33   3     let plaintiff speak for themselves, but from our

11:01:36   4     understanding of the briefing, that's the crux of the

11:01:38   5     dispute.

11:01:38   6                 When -- and our use of "substantially plane"

11:01:41   7     comes actually from the guidance in the specification when

11:01:44   8     it's talking about the properties of the referenced

11:01:48   9     surface device, and it uses the face that's the subject of

11:01:51   10    these -- of this claim term.           And so, I'm looking at

11:01:55   11    column 10, your Honor, lines 44 through 57.                And this is

11:01:59   12    where the patentee discusses substantially plane, and they

11:02:03   13    end the paragraph, it's not simply about an embodiment,

11:02:06   14    which I understand is the beginning of the paragraph, but

11:02:09   15    the end of that paragraph states very clearly the term,

11:02:12   16    quote, reference surface device, end quote, herein denotes

11:02:17   17    a device where apparatus having at least these properties.

11:02:19   18                So these properties are, in fact, read into the

11:02:24   19    overarching.      I mean, claim 1 is all about this reference

11:02:27   20    surface device.       So what we were trying to do with the

11:02:29   21    language in our construction was ensure that that property

11:02:33   22    that's the subject of this paragraph was actually captured

11:02:36   23    in the construction.

11:02:45   24                Your Honor, I mean, that's the crux of my

11:02:47   25    argument.      I think the additional points I would make, in


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11:02:51   1     plaintiff's briefing, they quibbled with our use -- they

11:02:54   2     pointed to the pyramid examples as how our construction

11:02:57   3     couldn't be possibly correct.           The pyramid example,

11:03:02   4     actually, your Honor, is exactly what we're saying because

11:03:04   5     each of the faces of the pyramid are substantially planar.

11:03:06   6                 And you could see that if you look at figure 6A.

11:03:11   7     It points to 605.        605 is described in column 15 as a

11:03:16   8     face, and all we're saying is, even in the pyramid

11:03:19   9     structure that those individual faces, they comport with

11:03:22   10    the requirements of the claim, but they are still

11:03:25   11    substantially planar.

11:03:26   12                The other point that plaintiffs use to argue

11:03:32   13    against our construction is the dependent claim 16, which

11:03:36   14    talks about the length being an arch.              Again, we think

11:03:39   15    that's completely consistent and not mutually exclusive at

11:03:42   16    all with our substantially plane construction insertion

11:03:46   17    because if you look, for instance, at figure 6A and 6B,

11:03:50   18    those, we would argue, are -- the length is in the shape

11:03:54   19    of an arch so -- and that's the pyramidal structure.                 So

11:03:57   20    -- and that by definition, by the patent specification

11:04:01   21    tells you that there are different angles for each of the

11:04:04   22    pyramidal structures, and it comports with the rest of the

11:04:07   23    claim requirements.

11:04:08   24                So I'll leave it that, your Honor, unless you

11:04:11   25    have any questions.        But I did want to address the two


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11:04:13   1     points raised by plaintiffs against our construction.

11:04:22   2                 THE COURT:     Yeah.     I'll hear a response from the

11:04:25   3     plaintiff.      And I'm happy to hear with regard to the issue

11:04:30   4     -- on the suggestion with regard to the pyramids.

11:04:38   5                 MR. BURGER:      Your Honor, if I could have control.

11:04:39   6     Yeah, okay.      I do have slides that illustrate this point.

11:04:47   7     Just one moment.

11:05:01   8                 The pyramidal depression is addressed not only in

11:05:09   9     the specification but, also, in claim 2.               And here, you

11:05:12   10    see that where the word "face" appears in the next to the

11:05:23   11    last line of this quote of claim 2.             It says wherein each

11:05:30   12    face of said plurality of faces includes a pyramidal

11:05:37   13    depression.      So the use of the word "face" there, a face

11:05:41   14    that has a pyramidal depression is not a face that it's

11:05:49   15    substantially plane.         So even within the context of the

11:05:51   16    claim, the use of the word "face" is inconsistent with

11:05:57   17    having -- being substantially plane.              It tells us that it

11:06:03   18    includes a pyramidal depression.

11:06:04   19                So what this tells me is that the use of the word

11:06:08   20    "face" in the context of the claims and the specification

11:06:13   21    is broader than the substantially plane face.                And indeed,

11:06:19   22    where the claims require substantially plane face, they do

11:06:26   23    include that; but in other contexts, they just mention

11:06:31   24    faces.

11:06:35   25                And so, I think the use of the word "face" as it


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11:06:42   1     appears very clearly in claim 2 is that it's a surface,

11:06:49   2     and so, the surface has a pyramidal depression.                  And

11:06:54   3     another -- I was thinking of another example that might

11:06:58   4     help the Court.       When one speaks about the face of a

11:07:01   5     cliff, no one -- there's a face of a cliff is not

11:07:08   6     substantially plane, but yet, we talk about it as a

11:07:11   7     surface as a face.

11:07:12   8                 And I believe that that is the sense in which the

11:07:15   9     claims use the word "face."           And I do have other points to

11:07:23   10    make, but I believe your Honor wanted me to respond

11:07:27   11    specifically to the pyramidal depression.

11:07:32   12                THE COURT:     Okay.     If y'all will give me just one

11:07:34   13    second.

11:09:27   14                Okay.    I'm back on the record.         Thank you for

11:09:29   15    your courtesies in letting me take a short break to chat

11:09:31   16    about this with my law clerks.

11:09:34   17                The Court is going to maintain its construction

11:09:38   18    of plain and ordinary meaning.            And also, having heard the

11:09:42   19    arguments that were made by defendants' counsel with

11:09:45   20    respect to how the claims should be construed, the Court

11:09:50   21    rejects those and finds that the effort that you are

11:09:55   22    making regarding to including "each substantially plane

11:10:00   23    surface at an angular orientation relative to an adjacent

11:10:05   24    substantially plane surface" would not be -- that a person

11:10:09   25    skilled in the art would not find that to be the plain and


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11:10:13   1     ordinary meaning or the correct construction of that claim

11:10:16   2     term.

11:10:17   3                 The Court is going to make as its final and

11:10:20   4     permanent construction that it be plain and ordinary

11:10:27   5     meaning.     Hold on one second.        I want to put on the record

11:10:41   6     that we believe the specification shows the ability to map

11:10:46   7     curved surfaces.        So to the extent that the defendants'

11:10:49   8     proposal would indicate that the specification does not

11:10:54   9     allow that or the claim does not include that, the Court

11:10:57   10    rejects that proposed construction.

11:11:00   11                The final claim term we have is "orientation

11:11:07   12    indicium" and "position indicium."             The Court's claim

11:11:11   13    construction proposal is plain and ordinary meaning.

11:11:12   14    Defendants' proposed construction is that the claim term

11:11:16   15    is either indefinite or is indefinite under 35 United

11:11:23   16    States Code, Section 112, paragraph 2.

11:11:26   17                The Court's preliminary construction is the

11:11:28   18    defendant is incorrect.          It is not subject to Section 112,

11:11:34   19    paragraph 2, and that plain and ordinary meaning is the

11:11:36   20    appropriate construction for both "orientation indicium"

11:11:41   21    and "position indicium."          I'll hear from counsel for

11:11:45   22    defendant, please.

11:11:51   23                MR. LIU:     Yes, your Honor.

11:11:52   24                We've taken a look through the Court's proposed

11:11:55   25    construction, and I think it helps give clarity as to what


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11:11:59   1     the plain and ordinary meaning is for the orientation

11:12:04   2     indicium and the location indicium.             And I guess, one

11:12:07   3     point that we wanted to seek clarification on is with

11:12:11   4     respect to the language "allows a viewer to ascertain the

11:12:18   5     orientation of the reference surface device."

11:12:21   6                 And so, in our understanding of the claimed

11:12:26   7     invention, the purpose of the reference surface device is

11:12:29   8     to use orientation indicium and position indicium to

11:12:35   9     ultimately determine three-dimensional points.                   And the

11:12:44   10    orientation indicium and the position indicium are going

11:12:49   11    to be points or orientation in the two-dimensional images

11:12:54   12    that are captured and that are subsequently process.                      So

11:12:58   13    in terms of the characteristic, we believe that it's more

11:13:03   14    consistent with the invention that's described in the 768

11:13:09   15    patent to have that the reference surface device is using

11:13:14   16    the orientation of the reference surface device with

11:13:18   17    respect to the intra-oral cavity as opposed to merely

11:13:23   18    allowing it to just be a viewer to ascertain the

11:13:26   19    orientation of the reference surface device.

11:13:34   20                THE COURT:     Okay.     Let me hear a response from

11:13:36   21    the plaintiff.

11:13:37   22                MR. BURGER:      I have to apologize, your Honor.

11:13:40   23    I'm not really clear what counsel is proposing.                   I can

11:13:48   24    tell you why I believe the construction that your Honor

11:13:54   25    has proposed is supported by the patent specification, but


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11:14:01   1     I think I need --

11:14:01   2                 THE COURT:     Okay.     I've got it.      Let me -- that's

11:14:04   3     my fault.      So let me go ahead and do this.

11:14:07   4                 Mr. Liu, so let me read to you for the record

11:14:13   5     with respect to orientation indicium, I'm going to read

11:14:17   6     what the Court's proposal is, and then, I'm going to have

11:14:21   7     you tell me what language you would like to add or delete

11:14:25   8     to clarify my proposal.          And then, I'll hear from

11:14:30   9     plaintiff's counsel.

11:14:30   10                So the plain and ordinary meaning -- and this

11:14:33   11    will be true for both of them.            Orientation indicium is a

11:14:37   12    characteristic of the reference surface device that allows

11:14:41   13    a viewer to ascertain the orientation of a reference

11:14:45   14    surface device with respect to the inter-oral cavity.

11:14:50   15                You mentioned that you had an issue with the

11:14:53   16    portion of it that begins with "allows" and ends with

11:14:57   17    "surface device."        Tell me how you would propose modifying

11:15:02   18    the Court's preliminary construction so that I can hear

11:15:04   19    from plaintiff's counsel.

11:15:08   20                MR. LIU:     Sure.     And I think the most -- simply

11:15:11   21    that the dispute is really over whether it's -- the

11:15:18   22    reference surface device is something that allows a viewer

11:15:21   23    to ascertain the orientation or the position of the

11:15:24   24    reference surface device or whether it's a system that's

11:15:27   25    being used to ascertain the orientation or position of the


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11:15:31   1     reference surface device.

11:15:33   2                 We submit, your Honor, that consistent with the

11:15:36   3     spec -- teachings of the 768 patent, the whole purpose of

11:15:40   4     the reference surface device is to allow the computer

11:15:43   5     system to ascertain what the orientation or position of

11:15:49   6     the reference surface device is so that you can use that

11:15:53   7     to determine three-dimensional points of the object that

11:15:59   8     you're scanning.

11:16:00   9                 And so, I think that's the clarification that we

11:16:03   10    seek, and we believe that's consistent with the

11:16:06   11    specification.        And so, we would be fine if you just

11:16:13   12    replaced the word "viewer" with "system."

11:16:17   13                THE COURT:     So -- and as you're talking, I think

11:16:22   14    I am persuaded that "allows a viewer" may be unnecessarily

11:16:27   15    restrictive.        And I understand why it may be a viewer

11:16:32   16    that's looking at it, but it may be the system that is

11:16:36   17    providing it.        Let me put you on mute for just a second,

11:16:46   18    and we'll see what we can do on our side.               Give me one

11:16:56   19    second.

11:17:42   20                Okay.    So here is what I'm going to try modifying

11:17:48   21    this to.     I'll start with Mr. Liu and ask if this

11:17:54   22    satisfies what you're trying to accomplish.                For both of

11:17:57   23    them in the section that says, allows a viewer to

11:18:02   24    ascertain the orientation, I would modify that to read, a

11:18:07   25    device that allows for the ascertainment of the


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11:18:13   1     orientation.        And that will be for both claim terms.

11:18:27   2                 MR. LIU:     I believe we would be fine with that

11:18:28   3     clarification, with the additional clarification that it's

11:18:35   4     not intended to allow just any viewer to look at the

11:18:39   5     reference surface device and, in their head, be able to

11:18:43   6     ascertain the orientation or the position, but rather,

11:18:49   7     it's the system that's viewing it and making that

11:18:55   8     determination.

11:18:58   9                 THE COURT:     Let me -- I'm going to hold off on

11:19:01   10    the addition that you'd like.           But let me hear from

11:19:03   11    plaintiff's counsel with respect to my modification of my

11:19:07   12    preliminary construction.

11:19:09   13                MR. BURGER:      Your Honor, I believe that we are in

11:19:13   14    agreement with your modified construction.

11:19:18   15                THE COURT:     And I'm going to go out on a limb

11:19:21   16    here and guess that you'd prefer for me not to add the

11:19:25   17    language that Mr. Liu suggested that I add.

11:19:27   18                MR. BURGER:      I actually don't understand, again,

11:19:30   19    what Mr. Liu has proposed, specifically.               But in terms of

11:19:38   20    what you laid out, I am in agreement.

11:19:44   21                THE COURT:     Okay.     If you all will give me just a

11:19:46   22    second.     Okay.     Thank you very much for the break.

11:22:53   23                The Court is going to go with the modified

11:22:56   24    proposal it came up with this morning for orientation

11:23:03   25    indicium.      The construction's going to be plain and


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11:23:06   1     ordinary meaning as a characteristic of the reference

11:23:09   2     surface device that allows for the ascertainment of the

11:23:15   3     orientation of a reference surface device with respect to

11:23:19   4     the inter-oral cavity.

11:23:20   5                 With respect to position indicium, the Court is

11:23:24   6     going to go with a characteristic of the reference surface

11:23:28   7     device that allows for the ascertainment of the

11:23:33   8     orientation -- allows the ascertainment of the position of

11:23:39   9     the reference surface device within the inter-oral cavity.

11:23:43   10                So that is --

11:23:47   11                MR. BURGER:      Your Honor.

11:23:48   12                THE COURT:     And there's -- my clerk said we might

11:23:52   13    want to have intra-oral, rather than inter, if that is --

11:23:57   14    so I'm going to say intra-oral cavity.

11:24:01   15                MR. BURGER:      That is precisely what I was going

11:24:03   16    to say.

11:24:04   17                THE COURT:     Very good.      Okay.

11:24:06   18                So that ends the Markman hearing, which allows us

11:24:11   19    to turn to a trial date.          The Court is going to -- unless

11:24:19   20    you all -- if you can look at your calendars, unless you

11:24:23   21    all have a prior court engagement, in terms of a trial on

11:24:28   22    June 21st of next year, that is when the case is going to

11:24:34   23    be set for trial.

11:24:37   24                I don't need you to tell me today.             If, for some

11:24:40   25    reason, one of you finds out, one of your lead counsel


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11:24:43   1     determines that they're unavailable because they have a

11:24:45   2     previously set trial date, I will modify that date by a

11:24:50   3     little bit to accommodate anyone's trial date.                   In my

11:24:57   4     court, just letting you know how it works, if it's set for

11:25:01   5     the 21st, that means you should plan to -- on the Thursday

11:25:05   6     or Friday before the trial starts to have the voir dire

11:25:10   7     with my magistrate.

11:25:13   8                 The reason I do the voir dire with my magistrate

11:25:15   9     is because it's much better for the parties in my opinion.

11:25:20   10    The magistrate judge is very good.             He's very experienced.

11:25:23   11    He's been there for more than two terms.               He will do

11:25:28   12    probably a 45-minute to one-hour voir dire first, and

11:25:34   13    then, each side will have a 45-minute voir dire per side

11:25:50   14    to do their own --

11:25:50   15                MR. PATNAIK:      Your Honor, you're distorted

11:25:52   16    again --

11:25:53   17                THE COURT:     -- usually happens in this case, I

11:25:55   18    will be going with a seven-person jury.              The jury -- okay.

11:26:00   19    Give me one second.        Are you able to hear me now?

11:26:10   20                MR. PATNAIK:      We are.

11:26:11   21                THE COURT:     Very good.      Thank you for letting me

11:26:13   22    know.

11:26:13   23                You'll have a seven-person jury.            You'll each get

11:26:17   24    four strikes on your venire.            And then, Monday, July --

11:26:22   25    I'm sorry, Monday, June 21st at 9:00, we'll start trial


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11:26:26   1     with opening arguments.          So that pretty much is everything

11:26:31   2     I think we need to do.

11:26:34   3                 Does the plaintiff have anything that we needed

11:26:37   4     to address?

11:26:39   5                 MR. BURGER:      No, your Honor.

11:26:40   6                 THE COURT:     Counsel for defendant?

11:26:45   7                 MR. PATNAIK:      No, your Honor.

11:26:46   8                 THE COURT:     And just so you know, I didn't think

11:26:53   9     I would have to say this back in March, but we're actually

11:26:56   10    going to trial in Waco.          I know there's some questions

11:26:59   11    about the other places about when, but we're going back --

11:27:02   12    we're having trials.         And so, I don't know what will be

11:27:06   13    happening in the rest of the world in June, but unless

11:27:08   14    there's some dramatic reversal in the trend of COVID,

11:27:12   15    we'll be going to trial in person on that date.

11:27:19   16                But I look forward to working with you on this

11:27:21   17    case throughout.        If you have anything that I need to help

11:27:23   18    you with, take up during discovery, anything like that, I

11:27:27   19    think your counsel knows well, I'm always available and

11:27:30   20    I'm happy to help.        Make sure that everything stays on

11:27:33   21    track.

11:27:34   22                MR. BURGER:      I'm sorry, your Honor.         I just

11:27:35   23    wanted to clarify one thing from earlier.

11:27:38   24                THE COURT:     Sure.

11:27:39   25                MR. BURGER:      I apologize.      I may have spoken


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11:27:41   1     before you were ready to be done.             I apologize about that.

11:27:44   2                 Just for the purpose of the record, I did have an

11:27:47   3     objection that the slides from the technology tutorial

11:27:56   4     should not be a part of the record.             I'm wondering if --

11:27:59   5                 THE COURT:     I will -- generally speaking here,

11:28:04   6     let me tell you, I'm going to overrule, but let me explain

11:28:07   7     why.    I don't think that the plaintiff -- I'm sorry.             I

11:28:11   8     don't think that the defendant used it in a way that I'm

11:28:13   9     typically concerned with, which is, I don't want an

11:28:18   10    engineer to come in at a tutorial and say, the way we

11:28:25   11    drill for oil is we go down -- and whatever I'm going to

11:28:29   12    say, I know some of you are going to laugh at me because

11:28:32   13    I don't know anything about oil and gas.               But, you know, I

11:28:33   14    don't want an expert to say, you know, fracking means this

11:28:37   15    and then, it turns -- just because he's trying to give me

11:28:40   16    a big picture, and then, it turns out fracking, you know,

11:28:43   17    as much -- I'm not going to allow people to be

11:28:47   18    cross-examined over something that they said generically

11:28:50   19    to help me to be educated that wasn't -- as much as you

11:28:56   20    guys worry about getting experts to say exactly what they

11:29:00   21    mean.

11:29:00   22                But in your case where I think the defendant just

11:29:03   23    took something that you were using to help me understand

11:29:07   24    something and tried to use it to help me understand it

11:29:10   25    from their perspective, not in any way challenge I think


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11:29:14   1     what you said, then I think that's okay.               That's within

11:29:18   2     what I'm okay with having happen.

11:29:21   3                 I don't recall the defendants saying anything

11:29:25   4     that you said was wrong, or misleading, or made some use

11:29:30   5     of it other than to say, Judge, just to put things in

11:29:35   6     perspective, this is how I see it.             That's the way I took

11:29:38   7     it.     So I don't -- I don't know what the record will

11:29:40   8     reflect of what they actually did, but that's what I used

11:29:43   9     it for was, had you said the same thing during your

11:29:45   10    tutorial, I got the feeling it was exactly the same thing.

11:29:50   11                MR. BURGER:      Thank you, your Honor.         I just

11:29:51   12    wanted that to be clear, so I appreciate you clarifying.

11:29:58   13                THE COURT:     I don't think that defendant -- yeah.

11:30:01   14    I don't think defendant in any way tried to take advantage

11:30:03   15    of what you did in the tutorial in a way that I think

11:30:06   16    would be inappropriate.          I think you took it and used it

11:30:09   17    as a tutorial to help me understand it and I think that's

11:30:12   18    okay.     So I'll overrule your objection to that extent.

11:30:16   19                Is there anything else we need to take up?

11:30:18   20                MR. BURGER:      No, your Honor.

11:30:20   21                MR. BELANGER:      Your Honor.

11:30:20   22                THE COURT:     Yes, sir.

11:30:21   23                MR. BELANGER:      I apologize.       I missed this in

11:30:25   24    your explanation.        I know you said we would start the

11:30:28   25    trial on June 21st.        Did you give us a number of trial


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11:30:32   1     days that you were setting aside?

11:30:33   2                 THE COURT:     My guess is a two-patent case, you're

11:30:39   3     probably looking at somewhere between 13 to 15 hours per

11:30:44   4     side.

11:30:45   5                 MR. BELANGER:      (Moving head up and down.)

11:30:46   6                 THE COURT:     I don't have any huge desire -- let

11:30:49   7     me say one other thing.          The most likely scenario is that

11:30:54   8     we will have -- the reason I have you all pick the jury

11:30:57   9     the week before so I could start on Monday morning, that

11:31:00   10    doesn't mean I'm trying to jam the trial into one week

11:31:03   11    just, you know, to get it done.            The more likely scenario,

11:31:07   12    because of my docket, is that I don't even have to look.

11:31:12   13    I probably have a Markman set, or two or three, on that

11:31:15   14    Friday.

11:31:16   15                So we'll probably go Monday through Thursday, if

11:31:18   16    we can finish, great.         If you get finished, great.          If we

11:31:23   17    don't get finished, you may be doing your -- we may be

11:31:26   18    finishing witnesses and doing closing arguments the

11:31:29   19    following Monday.        But I have no -- I will have no march

11:31:36   20    through the south to get us done and a verdict by sometime

11:31:41   21    in that first week.

11:31:43   22                Now, it's a full year from now, so my patience

11:31:46   23    may have waned between now and then.              But so far, I like

11:31:51   24    lawyers, I like trials, I look forward to these.                 I'm not

11:31:56   25    going to ask you all to mediate this.              I think it's good


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11:32:00   1     if you do.      I think it's great if you do.           I think it's

11:32:02   2     great if you mediate it and settle it because I think that

11:32:06   3     can be what's best for your clients.              But I really like

11:32:09   4     jury trials and I really like jury patent trials.                   So as

11:32:12   5     far as I'm concerned, it will be like Christmas in June to

11:32:13   6     have goods lawyers come in and try the case.

11:32:16   7                 So one other thing and I'll have forgotten I told

11:32:20   8     you this, so I'm sure I'll repeat it.              But the way I like

11:32:24   9     to do things is, generally speaking, only place where that

11:32:28   10    I get a little skittish is, I don't -- I really dislike

11:32:32   11    carrying witnesses overnight.           Now, if you put your

11:32:35   12    witness on for 20 minutes on direct and then, the next

11:32:39   13    morning, we're going to start with the same witness on

11:32:42   14    direct, I don't care about that.            That's -- you know,

11:32:44   15    that's fine.

11:32:45   16                I really don't like you putting your witness on

11:32:50   17    on direct, for example, and getting halfway through cross

11:32:55   18    and then, stopping.        Or I don't like giving people the

11:32:57   19    opportunity to go overnight in that situation.                   So we may

11:33:03   20    go -- we may play a little bit with the end of the day and

11:33:06   21    when I finish, if I can finish with the witness, I will

11:33:10   22    almost always try to do that within reason for y'all's

11:33:14   23    planning purposes.

11:33:15   24                But that being said, I also understand that when

11:33:17   25    I finish trial, you have your second day of work getting


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11:33:19   1     ready for the next day of trial.            So again, I'm probably

11:33:23   2     hopefully the most sympathetic trial judge in terms of

11:33:26   3     wanting you all to do what's ever best for you all to get

11:33:29   4     this case tried fairly and work with your witnesses and do

11:33:33   5     all that.

11:33:33   6                 But that if I have a particular oddity about me

11:33:38   7     is, I like to finish witnesses, you know, before we -- if

11:33:43   8     we can, before we take an overnight break.               Other than

11:33:46   9     that, it's pretty vanilla.

11:33:52   10                So anything else I can address?

11:33:54   11                MR. BELANGER:      Thank you, your Honor.

11:33:55   12                MR. BURGER:      No, your Honor.

11:33:56   13                Thank you very much.

11:33:57   14                THE COURT:     And I'll apologize in advance because

11:33:58   15    I'm sure I'll repeat that because I'd forgotten I told

11:34:02   16    you.    But I wish you the best of luck.            Have a good week

11:34:05   17    and be safe out there.         Take care.

           18                MR. BURGER:      Thank you, your Honor.

           19                MR. BELANGER:      Thank you, your Honor.

           20                (End of proceedings.)

           21

           22

           23

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4     UNITED STATES DISTRICT COURT           )

5     WESTERN DISTRICT OF TEXAS )

6

7         I, LILY I. REZNIK, Certified Realtime Reporter,

8     Registered Merit Reporter, in my capacity as Official

9     Court Reporter of the United States District Court,

10    Western District of Texas, do certify that the foregoing

11    is a correct transcript from the record of proceedings in

12    the above-entitled matter.

13        I certify that the transcript fees and format comply

14    with those prescribed by the Court and Judicial Conference

15    of the United States.

16        WITNESS MY OFFICIAL HAND this the 9th day of September,

17    2020.

18

19

20                                           /s/Lily I. Reznik
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